Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 1 of 69




                      Exhibit B
             Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 2 of 69




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
JENNIFER ECKHART,                                               :
                                                                :   Civil Case No. 1:20-cv-05593 (RA)
                                    Plaintiff,                  :
                                                                :
                  v.                                            :   THIRDFOURTH AMENDED
                                                                :   COMPLAINT
FOX NEWS NETWORK, LLC and ED HENRY,                             :
in his individual and professional capacities,                  :   JURY TRIAL DEMAND
                                                                :
                                    Defendants.                 :
----------------------------------------------------------------X




        Plaintiff, as and for her Third Amended Complaint against Defendants Fox News

Network, LLC (“Fox News” or the “Company”) and Ed Henry (together, “Defendants”) alleges

as follows:

                                     PRELIMINARY STATEMENT

        1.       In July 2020, after Ms. Eckhart filed her original Complaint in this action –

alleging, inter alia, that she had been sexually harassed and assaulted, and raped, by Defendant

Ed Henry – Fox News attempted to defend itself to the mounting public outcry by claiming that

it had no knowledge of sexual misconduct by Mr.Defendant Henry prior to June 2020. This was

not true.

        2.       As Fox News was well aware, Mr.Defendant Henry had a long history of sexual

misconduct involving women, and particularly female employees. And, contrary to Fox News’

claims, far from punishing Mr.Defendant Henry for his vile misconduct, Fox News has

repeatedly rewarded him with a series of promotions that only increased his prominence.


                                                        1
            Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 3 of 69




       3.      In 2016, Mr.Defendant Henry was suspended by Fox News for four months after

news broke that he had an affair with a Las Vegas stripper. At this time, Fox Business Network

anchor Liz Claman told Ms. Eckhart, “everyone at Fox News knows that [Mr.] Henry is a sex

addict. That’s no secret.”

       4.      It also was recently reported that Mr.Defendant Henry was required to complete a

sex addiction rehabilitation program in order to return to work at Fox News. Yet, Fox News

took no steps to ensure the safety of its female employees upon his return from suspension

notwithstanding the fact that, according to reporting, it was an “open secret” at Fox News that

Mr.Defendant Henry was a serial harasser who used his power to prey on younger female

employees.

       5.      Moreover, in mid-2016, as multiple media reports revealed that Fox News was the

home to many of the serial sexual harassers exposed by the #MeToo movement, an outside law

firm was retained to conduct a series of Company-wide investigations into issues of sexual

harassment. During the investigations, multiple women came forward to complain that

Mr.Defendant Henry had engaged in sexually inappropriate conduct towards them. These

reports were received by multiple members of Fox News’ senior management.

       6.      Fox News also received a written complaint that warned against giving

Mr.Defendant Henry a greater role at the Company and stated that “the prospect of [Mr.]

Henry’s greater prominence on Fox [News] was crushing for female colleagues after the network

had promised sweeping changes following Ailes’ ouster.”

       7.      Nevertheless, Fox News looked the other way and failed to protect its female

employees from Mr.Defendant Henry because he was one of Fox News’ highest-rated anchors,

which, of course, translated to successful ratings and revenue for Fox News. Indeed, it has been



                                                2
             Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 4 of 69




reported that Mr.Defendant Henry was a “favorite of the network’s senior management,”

including current Chief Executive Officer Suzanne Scott.

       8.      Fox News ignored the many, many red flags, and rewarded Mr.Defendant Henry

with a series of promotions, culminating in a highly coveted promotion to co-anchor of the three-

hour long program, “America’s Newsroom.”

       9.      As Fox News’ female employees had rightly feared, and Ms. Eckhart was to

unfortunately learn, giving Mr.Defendant Henry increasing prominence at the Company only

emboldened him and encouraged him to escalate his mistreatment of women.

       10.     As a young woman just starting her journalism career, Ms. Eckhart was especially

susceptible to Mr.Defendant Henry’s predatory grooming techniques. Mr.Defendant Henry

repeatedly hounded Ms. Eckart, insisting that she join him for drinks in exchange for the

prospect of career advancement. He later sexually assaulted her, physically forcing her to

perform oral sex on him at Fox News’ New York headquarters.

       11.     After sexually assaulting Ms. Eckhart without repercussions, Mr.Defendant Henry

violently raped Ms. Eckhart in February 2017, after which he sent her threatening messages

boasting about the rape and how he physically injured her.

       12.     Ms. Eckhart is not Mr.Defendant Henry’s only victim. Indeed, he has subjected

at least more than half a dozen other women, including current Fox News female employees, to

sexual misconduct and/or abuse, as described herein.

       13.     When Ms. Eckhart sought to hold Fox News and Mr.Defendant Henry

accountable for this violent rape by retaining legal counsel and filing this lawsuit, Fox News only

escalated its retaliatory conduct by filing a baseless motion for sanctions against Ms. Eckhart’s

counsel. Mr.Defendant Henry also doubled down by “victim shaming” Ms. Eckhart, publicly



                                                 3
             Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 5 of 69




filing what he claimed were nude and partially nude pictures of her on this court’s docket, where

they were visible to the world. Upon information and belief, Fox News participated in and

acquiesced to this conduct.

       14.     This depraved and perverted conduct on behalf of Fox News, Mr.Defendant

Henry and his legal counsel is simply abhorrent, and only served to greatly increase the trauma

Ms. Eckhart is experiencing as a result of coming forward so bravely against her abuser and

former workplace. Ms. Eckhart looks forward to holding Defendants accountable for their

unlawful behavior.

       15.     Accordingly, Ms. Eckhart brings this action seeking injunctive, declaratory and

monetary relief against Defendants in violation of Title VII of the Civil Rights Act of 1964, 42

U.S.C. §§ 2000e, et seq. (“Title VII”), federal sex trafficking laws, 18 U.S.C. § 1591, et seq., the

New York State Human Rights Law, N.Y. Exec. Law §§ 290, et seq. (“NYSHRL”), the New

York City Human Rights Law, N.Y.C. Admin. Code §§ 8-101, et seq. (“NYCHRL”), the Gender

Motivated Violence Act, N.Y.C. Admin. Code §§ 8-901, et seq. (“GMVA”) and New York Civil

Rights Law, N.Y.C. Admin. Code §§ 52-b, et seq. (“CRL § 52”).

                              ADMINISTRATIVE PREREQUISITES

       16.     Ms. Eckhart previously filed a Charge with the Equal Employment Opportunity

Commission (“EEOC”) alleging violations of Title VII. On September 15, 2020, Ms. Eckhart

received her Notice of Right to Sue from the EEOC.

       17.     Any and all other prerequisites to the filing of this suit have been met.

                                 JURISDICTION AND VENUE

       18.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343, as this action

asserts violations of Title VII and 18 U.S.C. § 1591, et seq., and therefore raises federal



                                                  4
             Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 6 of 69




questions regarding the deprivation of Plaintiff’s rights. The Court has supplemental jurisdiction

over Plaintiff’s related claims arising under state and city law pursuant to 28 U.S.C. § 1367(a).

       19.     Pursuant to 28 U.S.C. § 1391(b), venue is proper in this Court because a

substantial part of the events or omissions giving rise to this action, including the unlawful

employment practices alleged herein, occurred in this district.

                                             PARTIES

       20.     Plaintiff Jennifer Eckhart is a former employee of Fox News and a resident of the

State of New York. At all relevant times herein, Ms. Eckhart met the definition of an

“employee” under all relevant statutes.

       21.     Defendant Fox News Network, LLC is a Delaware limited liability company with

a principal place of business located in New York, New York. At all relevant times, Fox News

was an “employer” within the meaning of all applicable statutes.

       22.     Defendant Ed Henry, upon information and belief, resides within the State of

Maryland and is an aider and abettor under NYSHRL and NYCHRL.

                                  FACTUAL ALLEGATIONS

I.     MS. ECKHART JOINS FOX NEWS

       23.     On January 2, 2013, Ms. Eckhart began working at Fox News as a Freelance

Administrative Assistant to Ms. Claman, who anchors “Countdown to the Closing Bell” on the

Fox Business Network.

       24.     Ms. Eckhart was informed that her job would entail assisting Ms. Claman with

creative story ideas, managing Ms. Claman’s appearances, making phone calls to book certain

on-air guests and assisting with scheduling, as well as other work-related administrative

assignments.



                                                  5
             Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 7 of 69




       25.     Instead, Ms. Claman demanded that Ms. Eckhart perform a variety of humiliating

tasks including, but not limited to, cleaning and organizing Ms. Claman’s shoes, organizing and

color-coordinating Ms. Claman’s dresses, cleaning Ms. Claman’s office and refrigerator,

dropping off a purse of hers to get repaired at Louis Vuitton, being asked to zip and unzip Ms.

Claman’s dresses off and on before and after every single on-air appearance, picking up Ms.

Claman’s dry-cleaning, getting Ms. Claman lunch and coffee (oftentimes even having to pay

with her own money), being subjected to Ms. Claman undressing in front of her inside her office

at Fox on numerous occasions (which would lead to her walking around her office in front of

Ms. Eckhart in nothing but underwear) and even babysitting Ms. Claman’s daughter outside of

normal office hours.

       26.     Ms. Eckhart put her head down and performed these tasks without complaint, yet

she was still further belittled and mistreated by Ms. Claman. By way of only one example, after

Ms. Eckhart ordered Ms. Claman pizza for lunch one day, Ms. Claman reprimanded her over

corporate work email for ordering “the worst pizza [she] ha[s] ever had.” When Ms. Eckhart

apologized, Ms. Claman responded, over email, “NEVER AGAIN!” This was the first of many

abusive emails Ms. Eckhart received during the course of her employment at Fox News.

       27.     By way of another example, Ms. Eckhart received an email from Ms. Claman

reprimanding her for booking a former United States Senator, who she claimed is “hated by

[Washington,] D.C.” Ms. Claman went on to excoriate Ms. Eckhart (and her team) over email

stating, “You need to tell [fill-in anchor] this is not [Stuart] Varney or ‘Mornings with Maria’

[Bartiromo] where we give people a pass or say things like ‘the main stream media ignores blah

blah blah.’ [‘Countdown to the Closing Bell’] is not Trump State TV.”




                                                 6
             Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 8 of 69




       28.     On one documented occasion, Ms. Claman called another former producer of hers

at Fox Business “a retard” while caught on a hot microphone on set during a commercial break.

This is just a few examples of Ms. Claman’s frequent berating and belittling of her production

staff in person and over corporate email.

       29.     On days that Ms. Claman would be absent from her anchor duties, Ms. Eckhart’s

production staff would regularly “celebrate” her absence due to not having to withstand Ms.

Claman’s incessant verbal, written and emotional abuse. On numerous occasions, Ms. Eckhart’s

manager, Brad Hirst would order the production staff lunch as a way of ‘celebrating’ Ms.

Claman’s absence, thereby admitting to the toxic abuse to which Ms. Eckhart and her staff would

often be subjected under his leadership.

       30.     In June 2013, Ms. Eckhart received a nominal promotion (without a pay raise) to

Production Assistant after receiving a stellar performance evaluation from her former manager,

Kevin Burke. Specifically, Mr. Burke praised Ms. Eckhart’s “work ethic, attitude, production

skills and ability to work under deadline pressure.”

       31.     Subsequently, Fox News promoted Ms. Eckhart twice during the course of her

tenure, first to Booker and then to Associate Producer.

       32.     Ms. Eckhart performed a variety of roles during her more than seven years at Fox

News including, inter alia: (i) producing “Countdown to the Closing Bell;” (ii) writing and

producing interview segments for Fox News and Fox Business with headline newsmakers, such

as Berkshire Hathaway CEO Warren Buffett, Tesla and SpaceX CEO Elon Musk and Microsoft

co-founder Bill Gates; (iii) appearing as a frequent on-air guest on Tom Shillue’s Fox News

Radio show, in addition to being a regular on-air personality featured on Fox Nation including

Tom Shillue’s “The Quiz Show;” (iv) serving as an on-air personality for a variety of other



                                                 7
             Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 9 of 69




shows on Fox News (including “Your World with Neil Cavuto”); (v) producing live broadcasts

from the floor of the New York Stock Exchange; (vi) producing CES live from Las Vegas; (vii)

producing segments for the World Economic Forum in Davos, Switzerland; and (viii)

interviewing celebrities, business leaders and high profile athletes on the red carpet for feature

stories that are currently published on Fox News’ and Fox Business’ websites.

       33.     Throughout her employment, Ms. Eckhart received substantial praise for her

outstanding work performance and dedication, often in the face of incredible pressure. By way

of example only:

                      On August 14, 2014, Ms. Claman wrote to Ms. Eckhart over
                       email, “You are truly the kindest and best.”

                      On December 7, 2015, the Senior Vice President of
                       Programming at Fox Business, Thomas Bowman, emailed
                       Ms. Eckhart congratulating her on her stellar on-camera
                       reporting for a package she put together for the Company
                       stating, “You’re wasting your time here [at Fox News]... you
                       should be on TV becoming a star.”

                      On December 22, 2015, Mr. Hirst wrote Ms. Eckhart a hand-
                       written letter stating, “Thank you for making [‘Countdown
                       to the Closing Bell’] ‘must see TV!’ I appreciate your hard
                       work and dedication. Congratulations on your promotion.”

                      On July 1, 2016, in one of Ms. Eckhart’s employee
                       performance evaluations, Mr. Hirst wrote, “Ms. Eckhart was
                       promoted to researcher/booker and has played a major role
                       in the success of a small, but dedicated team that has grown
                       the ratings of the show over 100% over the course of the last
                       year.”

                      On July 1, 2017, in one of Ms. Eckhart’s most glowing
                       performance evaluations, Mr. Hirst wrote, “Ms. Eckhart
                       often handles multiple segments per day, including the
                       crucial A block reporter hit. Ms. Eckhart may be the best
                       news writer on the team, and understands the urgency of
                       adding the most up-to-the-minute detail of every story she
                       writes. Ms. Eckhart is an invaluable part of the ‘Countdown


                                                  8
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 10 of 69




                         to the Closing Bell’ team at Fox Business, and has limitless
                         potential.”

                        In December 2019, Ms. Claman gave a hand-written,
                         personalized card to Ms. Eckhart, stating, “Thank you for
                         that ‘special something’ you always add to your segments
                         and for being so great! Thanks for all your hard work and for
                         putting up with all the drama we deal with. Xo, Liz.”

                        Similarly, on December 12, 2019, Mr. Hirst praised Ms.
                         Eckhart by writing her a note that said, “Thank you for
                         making my life easier each day! May 2020 bring you much
                         joy.”

                        Finally, on February 6, 2020, Ms. Eckhart received a
                         congratulatory email from Ms. Claman in which she praised
                         Ms. Eckhart’s producing skills writing, “Highest rated
                         segment was yours on Peloton!! Woo hoo!” Ms. Claman
                         proceeded to forward a copy of the successful overnight
                         ratings, of which Ms. Eckhart contributed to, with Rupert
                         Murdoch, Lachlan Murdoch, Jay Wallace, Lauren Petterson
                         and Suzanne Scott on the email chain.

       34.    This last email was sent just before Ms. Eckhart complained about a toxic

environment, immediately after which she was put on a “Performance Improvement Plan” and

eventually terminated.

II.    MR.DEFENDANT HENRY PREYS ON MS. ECKHART

       35.    Unfortunately, Ms. Eckhart’s outstanding performance did nothing to protect her

from becoming a target of Mr.Defendant Henry’s vile sexual misconduct.

       36.    At some point in 2014, when Ms. Eckhart was only 24 years old, Mr.Defendant

Henry, who was, at the time, Fox News’ Chief White House Correspondent based out of

Washington, D.C., began following her on Twitter.

       37.    Shortly thereafter, Mr.Defendant Henry – who was married at the time – sent Ms.

Eckhart a Direct Message (“DM”) on Twitter that said only, “beautiful.”




                                                   9
           Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 11 of 69




       38.     Ms. Eckhart was naturally put off by Mr.Defendant Henry’s inappropriate

message. But, given Mr.Defendant Henry’s stature at Fox News, and the fact that Ms. Eckhart

was, at the time, a 24-year-old recent graduate of journalism school who was just starting her

career at Fox News, Ms. Eckhart felt compelled to respond. She made it clear, however, that she

was not romantically interested in Mr.Defendant Henry by shifting the discussion to work.

Specifically, Ms. Eckhart told Mr.Defendant Henry that she was a fan of his work and that it

would be an honor to meet him one day.

       39.     Mr.Defendant Henry replied by stating that he just so happened to be at Fox

News’ New York offices that day, and asked that Ms. Eckhart come meet him in one of the green

rooms prior to his on-air appearance as the “One Lucky Guy” on Fox News’ all-female show

“Outnumbered.”

       40.     Ms. Eckhart obliged, but when they met, she shook his hand, kept things strictly

professional and in no way gave any indication that she was romantically interested in

Mr.Defendant Henry. Mr.Defendant Henry nevertheless asked Ms. Eckhart if she wanted to

have her picture taken with him. Ms. Eckhart agreed, and the two had their picture taken.

       41.     Later that day, Mr.Defendant Henry sent Ms. Eckhart yet another Twitter DM in

which he asked her to send him a copy of the picture that the two had taken together. Ms.

Eckhart did so, and Mr.Defendant Henry gratuitously responded, “You are way more beautiful in

person.”

       42.     When Ms. Eckhart failed to reciprocate Mr.Defendant Henry’s romantic

overtures, he persisted, continuing to DM her and asked her to get drinks with him. While Ms.

Eckhart was outwardly cordial, Mr.Defendant Henry’s unrelenting advances made her

uncomfortable, so she made up an excuse to get out of meeting him for drinks. Mr.Defendant



                                                10
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 12 of 69




Henry, who was intent on pursuing Ms. Eckhart despite her rejections, wrote to her in an e-mail,

“Yep. Hard to get.”

       43.     From that moment on, Ms. Eckhart became a sexual target of Mr.Defendant

Henry. Twice Ms. Eckhart’s age, Mr.Defendant Henry continued to send unsolicited

inappropriate, flirtatious and, at times, sexually disturbing and graphic text messages to Ms.

Eckhart. He also continued to ask her out for drinks. Ms. Eckhart, a young, early-in-career

journalist in fear of losing her job, felt pressured and compelled to respond and, to a degree,

“play along” with Mr.Defendant Henry, an extremely powerful man at both Fox News and the

White House.

       44.     However, Ms. Eckhart repeatedly refused to meet Mr.Defendant Henry for drinks.

Undeterred, Mr.Defendant Henry continued to act inappropriately and continued to try to

pressure Ms. Eckhart into having drinks with him. Finally, after several months of being worn

down by Mr.Defendant Henry’s advances, Ms. Eckhart agreed to meet him for one drink.

       45.     Mr.Defendant Henry was in New York City at the time for work staying at the

New York Marriott Marquis, one of the hotels where Fox News frequently lodges its traveling

employees. The two met at the bar at the hotel for a drink.

       46.     Far from having any romantic interest in Mr.Defendant Henry, Ms. Eckhart

brought a list of career-related questions she had compiled on a yellow legal pad for their

meeting, hoping that she could learn from Mr.Defendant Henry as she was seeking a journalism

mentor at Fox News.

       47.     Ms. Eckhart felt extremely nervous and intimidated during their in-person

conversation as she told him about her work as a Production Assistant and asked for his advice

on how to further her career. During their discussion, three women approached Mr.Defendant



                                                 11
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 13 of 69




Henry and asked to have their picture taken with him. Ms. Eckhart asked Mr.Defendant Henry if

women approached him asking for pictures regularly, and he responded, “It happens all the

time,” which further underscored Mr.Defendant Henry’s influential nature.

       48.     After the two finished their drinks, Mr.Defendant Henry asked Ms. Eckhart to

have another drink in his hotel room. Ms. Eckhart did not want to go, but she was fearful of the

repercussions of refusing a request by one of the most powerful on-air figures at Fox News, her

employer.

       49.     As soon as the two entered his hotel room, Mr.Defendant Henry, out of nowhere,

began forcefully kissing Ms. Eckhart, shoving his tongue down her throat and ripped off her

dress. Ultimately, Ms. Eckhart, fearing that her career would be over if she refused

Mr.Defendant Henry’s sexual advances, felt frozen and trapped, and relented to sexual

intercourse with him against her will.

       50.     After having extremely brief sexual intercourse, Mr.Defendant Henry told Ms.

Eckhart how beautiful she was, said she belonged in front of the camera, and that she was

“wasting her time” as a Production Assistant behind the scenes at Fox News. Instead,

Mr.Defendant Henry offered to help advance Ms. Eckhart’s career, telling her that he could “get

her in a room with some really powerful people.”

       51.     The message was clear: Ms. Eckhart would be rewarded for succumbing to

Mr.Defendant Henry’s sexual advances as he would use his powerful position at Fox News to

advance her journalism career. Alternatively, if she refused, she risked being punished (i.e., be

fired from her job).

       52.     When she got home that evening, Ms. Eckhart, who was distraught at the prospect

of having to sleep with Mr.Defendant Henry in order to keep her dream job of working at a



                                                12
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 14 of 69




national news network, cried herself to sleep. Ms. Eckhart, at the age of 24, remained in fear that

if she did not comply, she risked being blackballed in her industry at such an early stage of her

journalism career.




III.   MR.DEFENDANT HENRY SEXUALLY ASSAULTS MS. ECKHART

       53.      Ms. Eckhart managed to avoid Mr.Defendant Henry for a few months, but in

September 2015, Mr.Defendant Henry was, once again, back in Fox News’ New York offices.

       54.      Mr.Defendant Henry sent Ms. Eckhart a message on WhatsApp, an instant

messaging application that Mr.Defendant Henry had previously told Ms. Eckhart to download

and only use when communicating with him. In that message, Mr.Defendant Henry demanded

that Ms. Eckhart remove her underwear, while at work at Fox News, and put them in an envelope

for him. This, of course, was an extremely humiliating and disgusting request. But, in fear

knowing that she would face retaliation if she refused to comply, Ms. Eckhart did so.

Mr.Defendant Henry came to Ms. Eckhart’s desk on the 12th floor at Fox Business to retrieve

the envelope.

       55.      Later that day, Mr.Defendant Henry demanded that Ms. Eckhart meet him in one

of the Guest Offices on the 17th floor of the Fox News building despite Ms. Eckhart informing

him that she was extremely busy at work.

       56.      When Ms. Eckhart arrived at the room, Mr.Defendant Henry was on the phone.

Ms. Eckhart repeatedly indicated to him that she had to leave because a car was waiting for her

outside to take her and Ms. Claman to the New York Stock Exchange for a live broadcast.




                                                13
            Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 15 of 69




          57.   Rather than letting Ms. Eckhart leave to perform her work duties, Mr.Defendant

Henry hung up the phone, shut the office door and pinned Ms. Eckhart to the wall inside the

Guest Office at Fox News. Mr.Defendant Henry began subjecting her to forceful and unwanted

kissing. He then quickly unzipped his pants, and physically used his hand to force Ms. Eckhart’s

head down to his penis. While forcefully moving Ms. Eckhart’s head back and forth while

grabbing onto her hair, Mr.Defendant Henry physically forced her to perform oral sex on him

against her will. After Mr.Defendant Henry came, Ms. Eckhart immediately ran out of the office

in a state of shock, panic and fear.

          58.   Although Ms. Eckhart was able to avoid seeing Mr.Defendant Henry after the

September 2015 sexual assault on Fox News’ property, he continued to send her lewd and

extremely graphic pornographic images, videos and gifs.

          59.   In one email to Ms. Eckhart he wrote, “I’d like to wipe you with my tongue.”

IV.       MR.DEFENDANT HENRY RAPES MS. ECKHART

          60.   In the Fall of 2016, after Mr.Defendant Henry returned from his suspension from

Fox News (as described infra), Mr.Defendant Henry sent Ms. Eckhart yet another completely

unsolicited message. Mr.Defendant Henry sent her a YouTube link to a song entitled “Save a

Horse, Ride a Cowboy.” Ms. Eckhart, confused, asked Mr.Defendant Henry if he was trying to

tell her something. He responded, “That I want you to ride ME?” “Yesss” “I am telling you

that!!”

          61.   Mr.Defendant Henry’s inappropriate and often unsolicited sexual messages to Ms.

Eckhart continued, but took a dark and extremely violent turn, as he revealed an apparent

obsession with Bondage/Discipline/Dominance/Submission (commonly referred to as BDSM)




                                               14
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 16 of 69




related sex practices. In early 2017, after demanding that Ms. Eckhart send him a picture of

herself in lingerie, Mr.Defendant Henry sent the below message to Ms. Eckhart:




       62.     Shortly thereafter, Mr.Defendant Henry asked Ms. Eckhart to meet him again in

person. Out of fear, Ms. Eckhart came up with an excuse by telling Mr.Defendant Henry in a

text message that she had a date and was very busy. Mr.Defendant Henry proceeded to accuse

Ms. Eckhart, again, of playing “Hard to get.” Ms. Eckhart, fearful that Mr.Defendant Henry was

unhappy (and in fear that he would retaliate against her professionally), said that she always

makes herself available to him.1 Mr.Defendant Henry responded, “#obey” “[o]r” “#discipline.”




       63.     In another wildly inappropriate string of text messages, Mr.Defendant Henry

wrote that “the more impaired [Ms. Eckhart was] the better.” He also wrote that he liked Ms.

Eckhart “owned and submissive” and asked her for “[m]ore anal” sex (Ms. Eckhart did not at

any time have anal sex with Mr.Defendant Henry).



1
        Not coincidentally, when Ms. Eckhart joined Fox News Anchor Bill Hemmer sent an
email to Ms. Eckhart stating, “Jen- you know the drill: get along with everyone, ask lots of
questions and always be available. Welcome to Fox! Great having you here.” (emphasis
added).

                                                15
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 17 of 69




       64.     In February 2017, Mr.Defendant Henry, again, asked Ms. Eckhart to meet him;

this time for a drink at Fresco by Scotto, a New York City restaurant and frequent gathering

place of Fox News employees. Ms. Eckhart was afraid that if she refused again, Mr.Defendant

Henry would retaliate – indeed, he explicitly told her that if she did not “obey” him, she would

be “disciplined.” Ms. Eckhart knew that the restaurant would be busy, and that she would likely

run into other individuals employed by Fox News there, as the restaurant is owned by a local Fox

affiliate anchor in New York City. Therefore, she felt safe at that particular facility.

       65.     When Ms. Eckhart met Mr.Defendant Henry for a drink, he told her that Fox

News was rewarding him with “his very own show.” This, of course, would make Mr.Defendant

Henry even more powerful at Fox News. Accordingly, Ms. Eckhart was now even more

intimidated, particularly since he had sent her a message stating that she had better comply with

his demands “or else…” Mr.Defendant Henry asked Ms. Eckhart over drinks if she had an agent,

offered to introduce her to his agent (one of the most powerful agents in the journalism industry)

and told her that he would bring Ms. Eckhart on his future “new show” at Fox News as a

frequent on-air guest.

       66.     After drinks, Mr.Defendant Henry invited Ms. Eckhart to take a walk to further

discuss her career opportunities at his hotel in midtown Manhattan, where Fox News frequently

lodged its visiting employees, which was a short walk from Fresco by Scotto. Ms. Eckhart

attempted to avoid being alone with Mr.Defendant Henry in his hotel by claiming that she could

not go because her high heels were hurting her feet. Mr.Defendant Henry ignored her



                                                 16
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 18 of 69




protestations, grabbed her hand and pulled her to his hotel. Out of extreme fear and concern for

keeping her job, Ms. Eckhart complied.

       67.     Ms. Eckhart never could have imagined what would happen next.

       68.     Instead of discussing Ms. Eckhart’s future career prospects at Fox News, the

moment that Mr.Defendant Henry and Ms. Eckhart entered his hotel room, Mr.Defendant Henry,

yet again, forced himself upon Ms. Eckhart, pinning her against a wall, and forcefully ripped off

the coat and dress she was wearing.

       69.     Mr.Defendant Henry then immediately forced Ms. Eckhart’s hands behind her

back and applied metal handcuffs to Ms. Eckhart’s wrists to restrain her.

       70.     Ms. Eckhart pleaded with Mr.Defendant Henry, telling him that the handcuffs

were painful and hurting her wrists. Mr.Defendant Henry did not stop or remove the handcuffs.

Instead, he threw Ms. Eckhart onto the hotel bed naked, helpless and handcuffed. Mr.Defendant

Henry bragged to Ms. Eckhart that they were “real, authentic metal handcuffs,” that he got from

“a friend of his who is a cop,” which frightened Ms. Eckhart.

       71.     Mr.Defendant Henry then proceeded to laugh at Ms. Eckhart and take humiliating

naked photographs of her on his iPhone as she laid naked, helpless, afraid and restrained on the

bed in handcuffs. She, again, pleaded for him to stop and demanded that Mr.Defendant Henry

delete the naked photos he took of her on his phone without her consent. Mr.Defendant Henry,

again, simply laughed at Ms. Eckhart and did not delete the photos. Ms. Eckhart realized at that

moment that Mr.Defendant Henry was taking these degrading photographs of her to hold as

collateral in an effort to blackmail her, and to ensure her silence so that she never exposed his

vile misconduct.




                                                 17
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 19 of 69




        72.    In doing so, Mr.Defendant Henry took a page out of the playbook of Roger Ailes,

the former disgraced Chairman and CEO of Fox News, who allegedly videotaped and forced one

of his female victims to dance for him half-naked. Mr. Ailes allegedly kept the videotape of his

victim in a safe deposit box as blackmail in case she ever exposed his behavior; therefore, Ms.

Eckhart felt the exact same thing was happening before her eyes and she began to panic.

        73.    When Mr.Defendant Henry was done taking photographs of Ms. Eckhart, he

proceeded to forcefully rape Ms. Eckhart while she was still restrained and helpless in handcuffs.

While raping Ms. Eckhart, Mr.Defendant Henry performed painful sadistic acts on Ms. Eckhart,

which included, among many other things, violently hitting her in the face multiple times while

she remained handcuffed.

        74.    Ms. Eckhart did not consent to any part of this violent, painful rape.

        75.    Ms. Eckhart left the hotel in a state of shock, bruised and battered with bloody

wrists and a bloody lip. She flagged a taxi to take her home, and even the taxicab driver asked if

she was physically okay (she was not).

        76.    The next day, Mr.Defendant Henry texted Ms. Eckhart an angel face emoji saying

it was “nice to meet her for a quick drink,” completely omitting the fact that he had violently

raped her. Ms. Eckhart informed Mr.Defendant Henry that he had physically injured her.

Specifically, she told him in text messages that she had sore wrists (they were actually bleeding),

a mark on her buttocks, a broken nail and a bruise on her leg, among other serious injuries to her

body.

        77.    Mr.Defendant Henry did not even attempt to hide the fact that he was extremely

violent with Ms. Eckhart, and proceeded to send her even more WhatsApp messages while co-

anchoring “Fox & Friends” that read, “You’ll cum back for more,” “Will let you know,”



                                                18
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 20 of 69




“If/when avail” “so you can get slapped around some more” and “Gona make you my little

whore again.” He also wrote, “You know” “Who” “Your daddy” “Is[.]” “Good long session last

time[.]” “Left you bruised[,] batter[ed][,] dazed.” Mr.Defendant Henry further admitted the

sadistic and non-consensual nature of his actions when he wrote to Ms. Eckhart “When u r




owned” “U don’t get a” “choice.”




                                              19
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 21 of 69




       78.    Then, on Valentine’s Day, 2017, Mr.Defendant Henry texted Ms. Eckhart, “Again

please,” as well as another text in which he again admitted to leaving Ms. Eckhart “bruised” and

“battered.” Ms. Eckhart informed Mr.Defendant Henry in a text message that she was “STILL

bruised and battered,” to which Mr.Defendant Henry disgustingly replied by saying that Ms.

Eckhart needed to “take her punishment.”

       79.    Later that same day, Mr.Defendant Henry wrote: “Fuck you and your safe word.

You will know when I am done.” Ms. Eckhart never had a “safe word,” and was extremely

afraid and confused by Mr.Defendant Henry’s violent and unsolicited language over text.




       80.    When Ms. Eckhart tried to end the conversation by saying that Mr.Defendant

Henry needed to be nicer to her because it was Valentine’s Day, he responded, “Nah. Valentine

my ass.” When Ms. Eckhart, again, attempted to end the conversation by sending two emojis to




                                               20
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 22 of 69




Mr.Defendant Henry, he responded violently, “Get on your knees again and I’ll give you your

valentine.”

       81.     The next day, Mr.Defendant Henry texted Ms. Eckhart, informing her that he

would be guest-hosting Tucker Carlson’s show on Fox News’ “Tucker Carlson Tonight.” He

asked Ms. Eckhart to watch him anchor the show and proceeded to text her throughout the

program while he was ostensibly anchoring one of the highest rated shows at Fox News,

demonstrating a clear display of his professional power.




V.     FOX NEWS UNLAWFULLY TERMINATES MS. ECKHART’S EMPLOYMENT
       AFTER MR.DEFENDANT HENRY’s CONTINUED HARASSMENT AND                                      Formatted: No underline
       RETALIATION                                                                              Formatted: No underline

       82.     Following the incredibly painful rape and Mr.Defendant Henry’s violent follow-

up messages, Ms. Eckhart made every possible effort to cease all communications with

Mr.Defendant Henry as she was in fear for her safety.

       83.     Unfortunately, however, Ms. Eckhart was forced to continue seeing her abuser

walk the halls of Fox News’ New York City offices. On more than one occasion, Ms. Eckhart

saw Mr.Defendant Henry approaching, and ran inside one of the bathrooms at Fox News to hide

from him, which is a normal “fight-or-flight” triggered response after a traumatic event.

       84.     Because Ms. Eckhart refused to even come near Mr.Defendant Henry, he

continued to harass and retaliate against her for rejecting his continued advances.

       85.     By way of example, on October 5, 2018, Ms. Eckhart saw Mr.Defendant Henry

approaching her at the Fox News offices. She immediately turned around and walked in the


                                                21
           Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 23 of 69




opposite direction. This angered Mr.Defendant Henry, who e-mailed her later that day saying,

“Why’d you turn away today?” This made clear to Ms. Eckhart that Mr.Defendant Henry

believed he had the right and power to control her conduct within the premises of Fox News,

further demonstrating his use of his position to exercise dominion over her. Ms. Eckhart never

responded to his message.

       86.     Less than three weeks later, Mr.Defendant Henry again attempted to engage with

Ms. Eckhart by sending her a Twitter DM that said, “YO!” Ms. Eckhart, again, did not respond.

       87.     By way of another example at the offices of Fox News in New York, Ms. Eckhart,

yet again, tried to ignore and even physically ran away from Mr.Defendant Henry to avoid

having any interaction with him. Mr.Defendant Henry texted Ms. Eckhart an image of a football

player doing “the Heisman pose,” implying she was trying to get away from him, which she was.

       88.     After Ms. Eckhart repeatedly ignored and rejected Mr.Defendant Henry’s

continued advances, Mr.Defendant Henry quietly unfollowed Ms. Eckhart on Instagram in 2018,

and conspicuously removed dozens of “likes” he had given to photos of her. Mr.Defendant

Henry was trying to cover up his interactions with Ms. Eckhart after he realized that she would

no longer engage with him. It became evident that Mr.Defendant Henry now viewed Ms.

Eckhart, his work colleague, as a liability for him and his lucrative on-air career at Fox News.

       89.     In December 2019, despite the fact that Fox News was well aware of

Mr.Defendant Henry’s inappropriate sexual misconduct (see infra), it announced that

Mr.Defendant Henry was promoted to the position of co-anchor of the “America’s Newsroom”

program.

       90.     On February 10, 2020, Ms. Eckhart bravely came forward and attempted to

expose the toxic work environment she had been experiencing while employed at Fox News.



                                                22
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 24 of 69




Specifically, during a conversation with Denise Collins, the Senior Vice President of Human

Resources at Fox News, and Mr. Hirst, she informed them about the abuse and hostility that she

had endured for years. Although Ms. Eckhart did not explicitly mention sexual harassment or

misconduct, under the circumstances Ms. Collins and Mr. Hirst should have and, upon

information and belief, did understand Ms. Eckhart to be “complaining” about unlawful

harassment.

       91.     Ms. Collins and Mr. Hirst ignored Ms. Eckhart’s obvious plea for help, and never

followed up with Ms. Eckhart about her genuine concerns in this regard, nor did either make any

effort to investigate or remediate the toxic working environment she complained about. To the

contrary, Mr. Hirst told Ms. Eckhart to “prepare herself to face repercussions” if she lodged any

further complaints. For her part, Ms. Collins turned to Mr. Hirst during their meeting with Ms.

Eckhart, and asked him whether he thought the environment at Fox News was toxic. Mr. Hirst

responded, “no,” and that seemed to satisfy Ms. Collins.

       92.     Instead of addressing Ms. Eckhart’s completely valid concerns, Fox News instead

decided to put Ms. Eckhart on a purported “Performance Improvement Plan” (“PIP”) after she

had dedicated more than seven years of her life to the Company. Ms. Eckhart was put on this PIP

notwithstanding having received countless hand-written cards and emails of praise from her

superiors, including Mr. Hirst, Ms. Claman, Fox Business Network Senior Vice President Gary

Schreier and Senior Vice President of Programming, Thomas Bowman, in recognition of her

continued hard work, success and dedication to the Company. See supra at ¶¶ 30-33.

       93.     Thereafter, on June 9, 2020, Ms. Eckhart received an email from Mr. Hirst

informing her that 2020 performance evaluations would be suspended due to the extraordinary

events that challenge everyday work routines caused by the Covid-19 pandemic. Mr. Hirst wrote



                                                23
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 25 of 69




to Ms. Eckhart and the rest of her production staff, “In the next few weeks, I will schedule a

Zoom meeting with each of you to discuss your performance and your future growth as

television professionals.”

       94.      However, Ms. Eckhart never received such an invitation for the scheduled Zoom

call that was promised by Mr. Hirst. Instead, on June 12, 2020, Fox News further retaliated

against Ms. Eckhart by informing her that her employment would be terminated effective June

26, 2020, after more than seven years of employment. Incredibly, during Ms. Eckhart’s “exit

meeting” with both Mr. Hirst and Ms. Collins, Ms. Collins asked Ms. Eckhart if she had been

sexually harassed and/or assaulted while employed by Fox News. Clearly, Fox News had

understood Ms. Eckhart’s February 2020 complaints to encompass such unlawful harassment

and made the unilateral decision to take no further action until after it had already terminated her

employment.

VI.    FOX NEWS’ INSTITUTIONAL APATHY TOWARDS SEXUAL MISCONDUCT

       95.      Fox News, unfortunately, has engaged in a lengthy and unsavory pattern and

practice of ignoring and covering up sexual misconduct while protecting the individuals who

engage in it.

       96.      The #MeToo movement ignited after former Fox News anchor Gretchen Carlson,

and at least 20 other women, accused then-Fox News Chairman and CEO Roger Ailes, of sexual

misconduct. See, e.g., https://www.huffpost.com/entry/roger-ailes-accusers-

list_n_57a9fa19e4b06e52746db865.

       97.      Shortly thereafter, Bill Shine, who Fox News installed as Co-President of the

Company after Ailes’ departure, left Fox News following accusations that he aided and abetted

the sexual harassment crimes of Roger Ailes. See, e.g.,



                                                 24
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 26 of 69




https://www.nytimes.com/2018/07/05/us/politics/bill-shine-fox-news.html. Indeed, as one

former Fox News Senior Producer – Jane Doe 4 – wrote to Ms. Eckhart, “we know Bill [Shine]

knew everything about Roger [Ailes].”

       98.     Later, reports were published that exposed the lengthy history of sexual

harassment allegations against Fox News’ biggest and highest earning star, Bill O’Reilly,

including reports that Fox News offered him a massive $100 million contract over four years

notwithstanding its prior knowledge of his sexual misconduct. See, e.g.,

https://www.nytimes.com/2017/04/01/business/media/bill-oreilly-sexual-harassment-fox-

news.html; https://www.nytimes.com/2017/10/21/business/media/bill-oreilly-sexual-

harassment.html.

       99.     Specifically, by January 2017, Fox News was aware that Mr. O’Reilly had

entered into at least six settlement claims of sexual harassment, including a January 2017

settlement of a claim involving allegations of “repeated harassment, a nonconsensual sexual

relationship and the sending of gay pornography and other sexually explicit material.” See

https://www.nytimes.com/2017/10/21/business/media/bill-oreilly-sexual-harassment.html.

       100.    One month later, in February 2017, Fox News renewed Mr. O’Reilly’s contract

for four years at an unjustifiable amount of $25 million per year. Incredibly, when confronted

about this by the New York Times, the Company said, “Fox News ‘surely would have wanted to

renew’ Mr. O’Reilly’s contract, noting that ‘he was the biggest star in cable TV.’” See

https://www.nytimes.com/2017/10/21/business/media/bill-oreilly-sexual-harassment.html.

       101.    This is a direct admission that Fox News is willing to retain individuals who are

known to repeatedly engage in unlawful acts of sexual misconduct, so long as they are profitable.

Indeed, Mr. O’Reilly was only terminated by Fox News months later when advertisers started



                                                25
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 27 of 69




dropping his show, “The O’Reilly Factor,” and the Murdoch family learned that federal

prosecutors were on the verge of learning about his bombshell January 2017 settlement. See

https://www.nytimes.com/2017/10/21/business/media/bill-oreilly-sexual-harassment.html;

https://www.forbes.com/sites/maddieberg/2017/04/04/here-are-all-the-advertisers-who-have-

dropped-bill-oreilly/?sh=24d69c377987.

       102.    In a desperate attempt to try to salvage what remained of Fox News’ documented

history and reputation of animus toward women in the workplace, Fox News made the strategic

decision to promote a female, Suzanne Scott, to be its current Chief Executive Officer,

notwithstanding the fact that a litany of individuals allege that she, too, covered up claims of

sexual harassment, including those perpetrated by Mr. Ailes. See, e.g.,

https://www.theguardian.com/media/2018/may/17/suzanne-scott-who-is-she-fox-news-ceo-

female-miniskirt-rule. Moreover, as put by a former Fox News Senior Producer, “Suzanne was

Bill [S]hine’s partner in crime.”

       103.    In recent weeks alone, multiple additional Fox News on-air personalities (both

former and one current) have been accused of sexual assault and sexual harassment. However,

staying true to its long and well-documented history of apathy toward such accusations, Fox

News continues to reward and employ Judge Andrew Napolitano, as well as on-air personality

George Murdoch, known to Fox News viewers as “Tyrus,” even after serious sexual assault

allegations (Judge Napolitano) and sexual harassment allegations (Tyrus) were brought against

them. See, e.g., https://www.cnn.com/2020/10/01/media/kimberly-guilfoyle-fox-

allegations/index.html; https://www.businessinsider.com/fox-news-analyst-andrew-napolitano-

accused-of-sexual-assault-2020-9; https://www.latimes.com/entertainment-




                                                 26
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 28 of 69




arts/business/story/2019-12-10/britt-mchenry-sues-fox-news-tyrus-sexual-harassment-claim-

former-un-pc-co-host.

       104.      Fox News’ institutional apathy and unwillingness to stamp out sexual harassment

and abuse in the workplace is borne out of its view that profits are more important than the

physical and mental wellbeing of its female employees. The “Fox News Fear Factory,”

originally instituted by Mr. Ailes, unfortunately continues to silence victims while promoting a

culture of fear that enables women to be sexually harassed and assaulted by some of the

Company’s highest earning stars.

       105.      In other words, so long as the abusers and perpetrators continue to “line the

pockets” of Fox News by helping its bottom line and boosting its ad revenue, Fox News looks

the other way.

       106.      Despite Fox News accruing a seemingly never-ending plethora of sexual abuse,

harassment and assault allegations depicting a misogynist workplace and advertiser boycotts,

from Fox News’ toxically skewed vantage point, “Business has never been better!”

       107.      By way of just one example, on an earnings call in early August of 2020, Lachlan

Murdoch, the Executive Chairman of Fox News’ parent company, praised Fox News’ “ratings

surge” and “strong advertising revenue,” led by anchors Tucker Carlson and Sean Hannity.

       108.      Adding to Fox News’ bottom line, according to data released by Nielsen and

reporting from The New York Times, “[i]n June and July of 2020, Fox News was the highest-

rated television channel in the prime-time hours of 8 to 11 p.m. Not just on cable. Not just

among news networks. All of television. The average live Fox News viewership in those hours

outstripped cable rivals like CNN, MSNBC and ESPN, as well as the broadcast networks ABC,




                                                  27
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 29 of 69




CBS and NBC, according to Nielsen.” See,

https://www.nytimes.com/2020/08/09/business/media/fox-news-ratings.html.

       109.   Additionally, according to data from Kagan, the media research group within

S&P Global Market Intelligence, Kagan’s forecast predicts that “Fox News [] will make $1.32

billion in advertising [in 2020] alone.” See, https://www.mediaite.com/tv/election-boom-heres-

how-much-ad-money-cnn-fox-news-and-msnbc-are-expected-to-make-in-2020/

VII.   FOX NEWS’ FAILURE TO ACT PROVIDED MR.DEFENDANT HENRY WITH                                  Formatted: Keep with next
       THE OPPORTUNITY TO RAPE MS. ECKHART

       110.   At approximately the exact same time Fox News was renewing Mr. O’Reilly’s           Formatted: Indent: Left: 0", Keep with next

contract, the Company was fielding complaints from women about sexual misconduct

perpetrated by Mr.Defendant Henry.

       111.   Indeed, starting in mid-2016, Fox News (through the law firm Paul, Weiss,

Rifkind, Wharton & Garrison LLP (“Paul Weiss”)) conducted a series of Company-wide

investigations into issues of sexual harassment. During the investigations, multiple women came

forward to complain that Mr.Defendant Henry had engaged in sexually inappropriate conduct

towards them. According to reports, this was known to Fox News’ Executive Vice President of

Human Resources, Kevin Lord, as well as Fox News President and Executive Editor, Jay

Wallace, and Fox Business Network President, Lauren Petterson. Upon information and belief,

these women came forward to complain before Ms. Eckhart was raped by Mr.Defendant Henry.

       112.   Adding fuel to the fire, these legitimate concerns were raised after Mr.Defendant

Henry was exposed and later suspended for four months by Fox News in 2016 after having a 10-

month long affair with a Las Vegas stripper.

       113.   According to reporting from NPR:




                                               28
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 30 of 69




               In 2017, a written complaint was filed to senior Fox [News]
               executives warning against giving [Mr.] Henry greater profile on the
               air, including as a substitute host and anchor, according to a former
               colleague with knowledge of those events.

               The complaint said the prospect of [Mr.] Henry’s greater
               prominence on Fox [News] was crushing for female colleagues after
               the network had promised sweeping changes following Ailes’
               ouster. Among those with whom the complaint was shared: Jay
               Wallace, [Fox News’] chief news executive, and Kevin Lord, the
               chief human relations executive who was brought in with the
               mandate to help transform the culture.

See https://www.npr.org/2020/07/01/885956385/fox-news-host-newly-fired-for-sexual-

misconduct-had-inspired-earlier-warning. Upon information and belief, this written complaint

was sent to Fox News prior to Mr.Defendant Henry raping Ms. Eckhart.

        114.   The Daily Beast has also reported on the fact that knowledge of Mr.Defendant

Henry’s sexual misconduct was a widespread “open secret” at Fox News:

               Several current Fox News employees agree that [Mr.] Henry’s
               reputation was well-known at Fox [News] [headquarters] long
               before the network gave him the boot. One staffer, who requested
               anonymity out of fear of retaliation from her Fox [News] bosses,
               recalled how she was repeatedly warned about [Mr.] Henry’s
               behavior before she engaged in a sexual relationship with him
               beginning in November 2016 and ending March 2020.

https://www.thedailybeast.com/ed-henrys-accusers-say-his-behavior-was-an-open-secret-at-fox-

news.

        115.   The same staffer further stated: “I think Fox News was aware of his behavior. His

reputation was mixed. While some saw [Mr.Defendant Henry] as friendly and jovial, others

believed he could be unpleasant and harsh-natured in the workplace. It was well-known he

flirted with younger women in the office. I heard people say, in general, to be careful with him

because of his flirtatious nature.” https://www.thedailybeast.com/ed-henrys-accusers-say-his-

behavior-was-an-open-secret-at-fox-news.

                                                29
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 31 of 69




       116.      A different former staffer, who was herself allegedly sexually assaulted by yet

another on-air talent at Fox News, stated that: “Fox [News] may be a big company, but things get

around. Employees talk. I was sure to ask around among my female coworkers. Heck, I even

heard it from some males who were aware about names I should stay away from or watch out

for. [Mr.] Henry consistently came up.” https://www.thedailybeast.com/ed-henrys-accusers-

say-his-behavior-was-an-open-secret-at-fox-news.

       117.      Moreover, when news broke about Mr.Defendant Henry’s extramarital affair with

the Las Vegas stripper in 2016 – prior to the rape – Ms. Claman told Ms. Eckhart, verbatim, “Oh

[Ms. Eckhart], everyone at Fox News knows that [Mr.] Henry is a sex addict. That’s no secret.”

Jane Doe 4, a former Fox News Senior Producer, also told Ms. Eckhart that she “[couldn’t] see

how [Fox News] couldn’t” have known about Mr.Defendant Henry, and that “I feel like I knew

about this even before I went to Fox. If not then, early on there.”

       118.      Thus, Fox News was at all relevant times aware that Mr.Defendant Henry was

leveraging his position to coerce and groom young, impressionable women into sexual

relationships.

       119.      By its inaction and further promotion of Mr.Defendant Henry, Fox News was

telling its female employees, including Ms. Eckhart, that Mr.Defendant Henry was

“untouchable” and that any further complaints about him would fall on deaf ears. In such an

environment, Ms. Eckhart felt stifled in her ability to seek redress from management.

       120.      And yet, as it had done with Mr. O’Reilly, Fox News failed to take any

meaningful disciplinary action or terminate Mr.Defendant Henry. Indeed, Fox News decided to

look the other way and retain Mr.Defendant Henry even as complaints against him piled up,

knowing that he engaged in serial sexual misconduct, because he was good for business – i.e., his



                                                 30
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 32 of 69




presence at the network resulted in revenues for Fox News. Indeed, it has been reported that

Mr.Defendant Henry was a “favorite of network management,” including Ms. Scott.

       121.    It was, upon information and belief, only matter of weeks or months after Fox

News chose to ignore the complaints referred to supra at ¶¶ 110-111, 113, that Mr.Defendant

Henry violently raped Ms. Eckhart.

       122.    While Ms. Eckhart’s life would never be the same from that point forward, Fox

News continued to reward Mr.Defendant Henry.

       123.    Indeed, according to reporting by NPR,

               After the scandal in 2016, [Mr.] Henry revived his career. He                   Formatted: Right: 1"
               became the substitute host of Fox & Friends Weekend and a chief
               national correspondent. In December [2019], he became the co-host
               of the morning show America’s Newsroom. That revival was
               conditioned on [Mr.] Henry’s completion of a sexual addiction
               rehabilitation program according to several former colleagues.

               His career resurgence became a source of consternation for some co-
               workers. Several former colleagues tell NPR that over the years,
               [Mr.] Henry proved aggressively flirtatious with younger, female
               Fox staffers. He sometimes sent graphic notes and even graphic
               images to them, according to these colleagues.

https://www.npr.org/2020/07/01/885956385/fox-news-host-newly-fired-for-sexual-misconduct-

had-inspired-earlier-warning.

       124.    Moreover, HarperCollins, an affiliate of Fox News, subsequently gave

Mr.Defendant Henry a lucrative book deal which resulted in him becoming a New York Times

Best-Selling author.

       125.    Fox News later rewarded Mr.Defendant Henry with a new streaming show on Fox

Nation called, “Ed Henry’s Front Row Seat,” and HarperCollins gave Mr.Defendant Henry yet

another book deal.




                                               31
           Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 33 of 69




         126.   In December 2019, despite the fact that Fox News was well aware of

Mr.Defendant Henry’s inappropriate sexual misconduct, it was announced that Mr.Defendant

Henry was promoted to the position of co-anchor of the “America’s Newsroom” program, in

which he would anchor three hours of national television programming Monday through Friday.

         127.   Upon hearing the news and receiving an email from Fox News executives

praising Mr.Defendant Henry and announcing his promotion, Ms. Eckhart burst into tears and

ran to the nearest bathroom at Fox News to throw up after seeing that her abuser was rewarded

such a highly coveted anchor position at the network.

         128.   Fellow colleagues of Ms. Eckhart’s at Fox News even gossiped around the entire

network, stunned that the network’s executives would make such a reckless decision to promote

Mr.Defendant Henry, a known sexual predator, to anchor of “America’s Newsroom.” One such

colleague who was “stunned” by Fox News Channel’s inept decision to promote such a sexual

deviant was Fox Business Senior Correspondent Charlie Gasparino. Mr. Gasparino, during a

conversation with Ms. Eckhart and their colleague Milanee Kapadia, stated that Mr.Defendant

Henry never should have been promoted to such a position.

         129.   It was approximately around this time that Mr.Defendant Henry continued to

further abuse his position of power at Fox News to sexually harass Cathy Areu, as described

infra.

         130.   When this lawsuit was initially filed, Fox News issued a public statement

claiming that no one had complained to Fox News about Mr.Defendant Henry and his sexual

misconduct until Ms. Eckhart put the Company on notice of her claims. This is simply not true.

         131.   In reality, Fox News knew that Mr.Defendant Henry had engaged in a pattern and

practice of sexual misconduct – some former and current female staffers even referred to his



                                                32
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 34 of 69




sexual harassment as an “open secret” at the Company. Fox News was also aware of

Mr.Defendant Henry allegedly seeking treatment for sex addiction, but made the conscious

decision not to take appropriate measures to protect its female employees from him.

       132.    Fox News’ actions only further emboldened Mr.Defendant Henry, allowing him

to obtain increasingly greater power and prominence to engage in further sexual misconduct

toward vulnerable female employees.

       133.    Fox News was at all times aware that if it took action in response to the

complaints about Mr.Defendant Henry, it would potentially be costing itself millions of dollars.

The Company further knew that, so long as it employed Mr.Defendant Henry, he would continue

to prey on innocent young women. Fox News therefore effectively entered into a devil’s bargain

– so long as Mr.Defendant Henry was continuing to generate revenue for the Company, it was

willing to look the other way and even provide him access to additional victims.




VIII. MR.DEFENDANT HENRY’S LONG HISTORY OF SEXUAL MISCONDUCT
      AND MISOGYNY

       A.      Brooke Hammerling

       134.    Ms. Hammerling works in media relations and met Mr.Defendant Henry when he

was employed with CNN.

       135.    According to Ms. Hammerling, when she met Mr.Defendant Henry, “he definitely

made the moves on me and I said no which was fine; I felt like swatting him away like a fly. He

was not someone that would directly impact my job so I didn’t really care. But was stunned by

the openness and the swiftness of the sexual nature of his messages to me. Even when I tried to

just brush them off and think he was just a horny little dude… and tr[ied] to keep it professional

                                                33
            Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 35 of 69




and email or text I can’t recall… he would always come back with something sexual and

perverted.”

          136.   Ms. Hammerling started a media relations company where she was introduced to

Mr.Defendant Henry.

          137.   As he has done with several other female victims, Mr.Defendant Henry made

sexual advances toward Ms. Hammerling almost immediately upon meeting her.

          138.   When Ms. Hammerling mentioned Mr.Defendant Henry’s lascivious behavior to

other women in the communications industry, they would knowingly roll their eyes and confirm

that he was known to be a “horn dog.”

          139.   On August 31, 2020, Ms. Hammerling tweeted the following message: “No

chance @foxnews didn’t know about Ed Henry. He was a menace to many of us on the

comm[unication]s side when he was at @cnn and everyone talked about it. Literally so so so

gross.”




                                               34
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 36 of 69




       B.      Roxie Marroquin                                                                    Formatted: Keep with next


       140.    Ms. Marroquin was dating a Fox News Whitehouse correspondent and colleague         Formatted: Indent: Left: 0", Keep with next

of Mr.Defendant Henry’s in 2015 when Mr.Defendant Henry reached out to her through a

private Twitter DM. 2

       141.    Ms. Marroquin, who was at the time only 25 years old and seeking a mentor in the

media industry, asked Mr.Defendant Henry to “meet up…just as friends of course,” and

suggested that “maybe [he] c[ould] teach [her] a few things about the industry.”

       142.    Mr.Defendant Henry, seizing yet another opportunity to take advantage of a

young woman, began texting Ms. Marroquin sexual messages, including stating that she had a

“tight body” and “must have given [her ex-boyfriend] amazing sex.” The then-Fox News Chief




2
        https://www.truehollywoodtalk.com/woman-claims-ex-fox-news-anchor-ed-henry-sends-
private-investigator-to-silence-her-from-exposing-their-extra-marital-rendezvous/.
                                               35
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 37 of 69




White House Correspondent invited her to meet him at The Wynn hotel in Las Vegas, Nevada

where he was staying at the time.

       143.    When Ms. Marroquin arrived at the Wynn hotel – after telling Mr.Defendant

Henry that she only wanted to be friends – Mr.Defendant Henry asked her to go back to his hotel

room, purportedly because he did not want people to recognize him in public.

       144.    When the two arrived at his hotel room, Mr.Defendant Henry drew up a bubble

bath and directed Ms. Marroquin to join him in it. According to Ms. Marroquin, “I was honestly

kind of afraid and frozen. I wasn’t sure what to do in the moment. I felt trapped, in a way, like,

‘oh man, did I give this person the wrong impression? What happens if I don’t do this?’ It was a

lot of emotions. So, I ended up getting in the bathtub. Fully nude. How this happens to a 25-

year-old, I can’t explain, besides fear of rejecting him.”

       145.    After she got into the bathtub, Mr.Defendant Henry began touching her breasts

and vagina and asked her to touch him. Ms. Marroquin submitted to the pressure of

Mr.Defendant Henry’s advances.

       146.    Soon thereafter, Mr.Defendant Henry began to panic out of fear that Ms.

Marroquin would expose their sexual encounter. He began sending her harassing messages

demanding that she meet with him and threatening her. In one message, Mr.Defendant Henry

wrote: “If you are talking [to a magazine] I am pushing back super hard and pointing out [her ex-

boyfriend] so that I tell the truth. Tell me you are not talking or I am going to [the] magazine to

push back hard.”

       147.    Mr.Defendant Henry subsequently arranged to meet with Ms. Marroquin at a

restaurant in Washington, D.C. However, when Ms. Marroquin arrived at the restaurant with her

son, she was, instead, confronted by a private investigator who told her to “keep her mouth



                                                 36
           Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 38 of 69




closed” and that he knew where she lived. He also threatened that Mr.Defendant Henry would

sue her.

        148.    In Ms. Marroquin’s words: “I have nothing to hide…Ed Henry is a sexual

predator. I do know that he preys on girls who are very young and very impressionable.”



        C.      Jane Doe 1

        149.    Jane Doe 1 currently works as an Associate Producer for Fox News in

Washington, D.C. where she first met Mr.Defendant Henry.

        150.    Shortly after Mr.Defendant Henry met Ms. Doe 1, he inappropriately sent her a

picture of his penis.

        151.    Jane Doe 1 later learned that he had sent a similar “dick pic” to another junior

female employee at Fox News (“Jane Doe 2”).

        152.    Despite being warned about Mr.Defendant Henry’s lascivious behavior, Ms. Doe

1 entered into a relationship with Mr.Defendant Henry, seduced by his senior position and high

profile, all enabled by Fox News.

        153.    Ms. Doe 1 has described her relationship with Mr.Defendant Henry as

emotionally abusive. She further stated that she was “taken advantage of because I was much

younger than him. There was a power imbalance.”

        154.    Throughout their relationship, Mr.Defendant Henry would engage in textbook

patterns of abuse. He would lavish Ms. Doe 1, a current Fox News staffer, with expensive gifts

and profess his love for her while at the same time saying “fuck you” to her anytime she

disagreed with him or objected to his abusive behavior. Ms. Doe 1 also told Ms. Eckhart in a

text message that Mr.Defendant Henry often referred to her as a “whore.” Ms. Doe 1 also


                                                 37
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 39 of 69




informed Ms. Eckhart that when she got promoted to Associate Producer at Fox News,

Mr.Defendant Henry laughed in her face, and told her that she would “never amount to success.”

        155.   It wasn’t until later that Ms. Doe 1 found out that Mr.Defendant Henry was

professing his “love” to her during the same time period in which he violently raped Ms. Eckhart

in a hotel room paid for by Fox News.

        156.   Ms. Doe 1 told Ms. Eckhart in a text message that, during a sexual encounter,

Mr.Defendant Henry “slapped her face so hard that she cried right away.” Ms. Doe 1 also told

Ms. Eckhart in a text that Mr.Defendant Henry’s abusive behavior caused her to have severe

depression.

        157.   Additionally, Ms. Doe 1 informed Ms. Eckhart that Mr.Defendant Henry was

“extra predator-like” and “used many of his sex toys on her,” and even coerced her into having

inappropriate sex with him on top of his New York City office desk at Fox News on June 9,

2019.

        158.   Similarly, in late 2019/early 2020, Ms. Doe 1 confronted Mr.Defendant Henry

about the inappropriate messages he was exchanging with Ms. Cathy Areu (described infra).

Mr.Defendant Henry sought to evade responsibility by claiming it was “innocent flirting.”

        159.   Yet another female friend (“Jane Doe 3”) informed Ms. Doe 1 that, when she first

started her career in the journalism industry, Mr.Defendant Henry asked her to come to his hotel

room when he was visiting Los Angeles, California. This woman took another female friend

with her to his hotel room so that she would not have to go alone. Once there, Mr.Defendant

Henry plied the two young women with alcohol, tried to seduce them and attempted to kiss Ms.

Doe 3, who rejected his advances. When Ms. Doe 1 confronted Mr.Defendant Henry about this,

he brushed her complaints aside, claiming that his behavior was “innocent.”



                                               38
             Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 40 of 69




           160.   After this action was filed, Ms. Doe 1 tweeted her support for Ms. Eckhart. In a

blatant and desperate attempt to bully and intimidate Ms. Doe 1, an executive with Fox News’

Human Resources immediately called her and demanded to know why she was publicly

supporting Ms. Eckhart, a former colleague and victim of sexual assault.

           161.   Ms. Doe 1 informed Ms. Eckhart in a text message that she and numerous other

women remain scared to come forward to Fox News’ Human Resources Department due to fear

of retaliation “because of how they fired Ms. Eckhart.”

           D.     Jane Doe 4

           162.   Ms. Doe 4 is a former Senior Producer at Fox News.

           163.   Before Ms. Doe 4 joined Fox News, she worked as a news producer at a local

station.

           164.   According to Ms. Doe 4: “[Mr.Defendant Henry] actually DMed me when I was a

LOCAL news producer in [ ] and 23 years old – I was taken aback but engaged a bit – but when

it was clear what he was after I stopped. But then we ended up working together I had to tell him

I was going to FOX. No real issues once I was there but I think it’s clear this is his MO. My

main takeaway from it was just how reckless he was.”

           E.     Cathy Areu

           165.   In or around 2017, Ms. Areu became a regular “analyst” on Fox News. She could

be seen on the network approximately five or more times per week, including appearances on the

most highly rated programs on Fox News, including “Tucker Carlson Tonight,” “Media Buzz

with Howard Kurtz,” “Hannity,” “The Ingraham Angle,” “Outnumbered,” “Fox and Friends,”

“Fox and Friends First,” “Watters’ World,” “The Story with Martha MacCallum,” “Fox News @

Night” with Shannon Bream, Neil Cavuto’s “Cavuto Live,” “Your World” and “Coast to Coast.”


                                                  39
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 41 of 69




       166.    In 2018, Ms. Areu became particularly well known for her segments on “Tucker

Carlson Tonight,” where she was given one of four regular segments on the show, appearing on a

regular basis as “The Liberal Sherpa.”

       167.    In 2018, “Tucker Carlson Tonight” was the second highest-rated show on Fox

News (after “Hannity”)3 and Ms. Areu appeared at least 22 times.

       168.    Indeed, Ms. Areu’s “Liberal Sherpa” segments garnered tens of millions of views

and continue to be accessible on Fox News’ website. They were also for a time, and may still be,

the most viewed segments on Fox News.

       169.    As a result of the success of Ms. Areu’s appearances, the “Tucker Carlson

Tonight” show created individualized graphics and an audio package for Ms. Areu’s “Liberal

Sherpa” appearances.

       170.    In April 2018, Ron Mitchell, the Vice President of Primetime Programming at

Fox News, told Ms. Areu that “The Liberal Sherpa” segment was “the best re-occurring segment

in many years” and said: “You now have what so many on-air personalities take many years to

develop – your own catchphrase!” In June 2018, Mr. Mitchell emailed Ms. Areu with the

subject heading: “You are getting your own special!” and in the body of the email wrote: “On

Tucker’s show on July 4 – nothing but the Liberal Sherpa.”

       171.    As a result, in 2018, Ms. Areu began having serious conversations with a myriad

of employees at Fox News, regarding being brought on-board as a paid contributor, including

Mr. Mitchell. In July 2018, after a Liberal Sherpa segment on “theybies” went viral, Mr.

Mitchell emailed the following to Ms. Areu: “They think it will hit 20 million by the end of the




3
      See https://thehill.com/homenews/media/421114-fox-news-wins-2018-ratings-race-
msnbc-has-its-best-year-ever.
                                               40
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 42 of 69




week!” He then stated: “And I just remembered that I owed you [an] answer on meetings with

executives. … I know that you are already on the list.”

       172.    During that time, Ms. Areu also began working with her agent at William Morris

and was nearing the “financials” stage of a contract with Fox News. According to Ms. Areu’s

agent, Fox News was in final discussions to bring her on board as an official paid contributor.

       173.    After Mr.Defendant Henry hosted a primetime show, “The Story with Martha

MacCallum” in New York City in May 2019, Mr.Defendant Henry spoke to Ms. Areu about his

recent surgery. The two took a picture together with Ms. Areu’s phone, which she then shared

with Mr.Defendant Henry. As a result, Mr.Defendant Henry had succeeded in obtaining Ms.

Areu’s cell phone number. Almost immediately after receiving her cell number, Mr.Defendant

Henry began sending Ms. Areu a slew of wildly inappropriate sexual images, messages and

videos through the first half of 2020, including many texts in which he implied that Ms. Areu

should have sex with him and that he would assist Ms. Areu’s career if she did so.

       174.    Ms. Areu did her best to change the subject by discussing current events and other

news-related topics, while also attempting to ensure that he was not angry that she refused to

“play along” with his sexually inappropriate text messages.

       175.    However, as the text messages continued, so did Mr.Defendant Henry’s wildly

grotesque and inappropriate texts to Ms. Areu. Examples include, among others:

                     A “close-up” photograph of a woman’s vagina being
                      “clamped” closed by clothespins;

                     A photograph of an individual wearing a mask that has a
                      large penis in lieu of a nose and Mr.Defendant Henry’s
                      message: “Did you miss me?”;

                     A photograph of a vibrator faux smoking a cigarette;




                                                41
            Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 43 of 69




                      A photograph with a woman with her mouth open and
                       tongue extended, with a man’s hands pulling her towards his
                       midsection, captioned “In case you wondering … the male
                       g-spot is located at the back of a woman’s throat;”

                      A photograph of a woman’s rear end and vagina modified to
                       include the features of a bunny rabbit (this was sent on
                       Easter);

                      A woman wearing nothing but three masks, in which her
                       entire body is exposed other than her breasts and vagina;

                      A photograph of a rubber glove where each finger appears
                       to be a dildo and/or ribbed like a condom;

                      A video of a woman running across the room and jumping
                       towards a camera – her skirt lifts up and the video ends with
                       a closeup of her vagina; and

                      A video entitled “Fastest Interview … candidate selected in
                       3 seconds.” In the video, a female purportedly interviewing
                       for a position exposes her vagina, after which the male
                       interviewer indicates that she got the job.

       176.    As noted, the “fastest interview” video shows a purported interviewee flashing her

vagina to the interviewer, who immediately offers her the job.

       177.    Immediately after Mr.Defendant Henry sent Ms. Areu this video, he texted her,

“Are you avail for anchor interview.”

       178.    Mr.Defendant Henry knew that Ms. Areu was looking for full-time work at Fox

News, and was telling her, in no uncertain terms, that he would assist her career if she had sex

with him.

       179.    On May 21, 2020, Mr.Defendant Henry asked Ms. Areu to speak over the

phone. Ms. Areu was direct with Mr.Defendant Henry and asked whether he thought that Fox

News might be hiring. Mr.Defendant Henry then made it clear what he expected from Ms. Areu

if she wanted his assistance. Specifically, he started berating her for being “boring” and “not


                                                42
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 44 of 69




who [he] thought [she] w[as].” After Ms. Areu did not assuage Mr.Defendant Henry’s concerns

by indicating that she was not “boring” (i.e., that she would be willing to engage in sexual acts

with him), Mr.Defendant Henry ended the call.

        180.   Over the following two weeks, Ms. Areu, attempting to salvage the relationship

(in order to salvage her career), pitched various story ideas. When Mr.Defendant Henry failed to

even respond, she wrote to him, “Wait, you haven’t written to me since we spoke. I sucked that

bad?” Mr.Defendant Henry – making it clear that he was unhappy that Ms. Areu had decided

not to sleep with him in exchange for his assistance with her career – wrote, “Nah you decided to

be a jerk which made me sad.” Of course, Mr.Defendant Henry was simply fishing for Ms. Areu

to change her mind and sleep with him. When she failed to do so, he simply wrote, “All

good. Hope Florida is fabulous.”

        181.   In her separate federal action, Ms. Areu also alleges that she was sexually

harassed by other on-air talent at Fox News and retaliated against when she rebuffed those

advances and engaged in protected activity. The allegations in Ms. Areu’s federal complaint are

incorporated herein by reference.

IX.     DEFENDANTS FURTHER RETALIATE AGAINST MS. ECKHART

        182.   On June 25, 2020, Ms. Eckhart, through counsel, put Fox News on notice that she

retained legal counsel in connection with legal claims against Mr.Defendant Henry and Fox

News.

        183.   Ms. Eckhart’s legal counsel explained to Fox News that Mr.Defendant Henry,

approximately twice Ms. Eckhart’s age, preyed upon, manipulated and groomed Ms. Eckhart

starting at the young age of 24 by exerting his abuse of power over her and her career.




                                                43
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 45 of 69




       184.    Ms. Eckhart’s counsel described to Fox News, in graphic and specific detail, how

Mr.Defendant Henry groomed, psychologically manipulated and coerced Ms. Eckhart into

having a sexual relationship with him, and that, when she would not comply voluntarily, he

sexually assaulted her on office property, and raped her at a hotel where Fox News frequently

lodged its visiting employees.

       185.    Ms. Eckhart’s counsel also explained to Fox News, in graphic and specific detail,

that Ms. Eckhart was violently raped while helpless and restrained in metal handcuffs, as

Mr.Defendant Henry performed sadistic acts on her without her consent that left her injured,

bruised and battered with bloody wrists and a bloody lip.

       186.    To be clear, Ms. Eckhart did not consent to any part of this violent, painful rape.

The day after this rape, as noted above, Ms. Eckhart told Mr.Defendant Henry in writing that he

had physically injured her. Ms. Eckhart told him that she had sore wrists (they were actually

bleeding), a mark on her buttocks, a broken nail and a bruise on her leg, among other injuries.

Ms. Eckhart’s counsel shared this information with Fox News.

       187.    Ms. Eckhart’s counsel also shared with Fox News the existence of certain text

messages that establish Mr.Defendant Henry’s delusions and prove his violence and the non-

consensual nature of their relationship.

       188.    On July 1, 2020, Fox News disclosed to the public that it had terminated

Mr.Defendant Henry based on the findings of an internal investigation, and purported to take

credit for acting appropriately.

       189.    Fox News’ press release announcing the termination of Mr.Defendant Henry was

completely disingenuous, and intentionally downplayed the severity of the situation by

characterizing Mr.Defendant Henry’s actions as merely “sexual misconduct.” Fox News was



                                                44
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 46 of 69




trying to avoid taking accountability for what actually happened; namely, that one of its most

prominent on-air personalities – with a history of multiple sexual harassment complaints –

sexually assaulted and raped Ms. Eckhart.

       190.    Moreover, Fox News did not even have the courtesy to notify Ms. Eckhart or her

legal counsel of the fact that it would be terminating Mr.Defendant Henry from his prominent        Formatted: Font color: Auto, Pattern: Clear

anchor position. Thus, she was left to learn of this decision from the media, Twitter and former

work colleagues. Fox News also sent an internal memo to thousands of Fox News employees,

including all of Ms. Eckhart’s friends and former colleagues at the Company, about the decision

to terminate Mr.Defendant Henry without consulting with or notifying Ms. Eckhart. This

conduct on the part of Fox News is abhorrent, and, of course, only served to greatly increase the

severe emotional trauma and post-traumatic stress that Ms. Eckhart is experiencing as a result of

coming forward so publicly against her abuser and former employer.

       191.    In fact, due to Fox News’ retaliatory actions and complete mishandling of the

situation, Ms. Eckhart has had to seek weekly therapy from a trauma specialist at a Crime

Victims Treatment Center in New York City.

       192.    While Fox News attempted to “take credit” for terminating Mr.Defendant Henry,

their decision was not only “too little too late,” but was done only because Ms. Eckhart, whom

the Company had already retaliated against, engaged in protected activity by retaining counsel,

reporting that she had been sexually harassed, assaulted and raped by Mr.Defendant Henry, and

indicated her intention to commence litigation.

       193.    However, the retaliation against Ms. Eckhart did not stop there.

       194.    On August 7, 2020, Fox News served a motion for Fed. R. Civ. P. 11 sanctions

(“Rule 11 Motion”) upon Ms. Eckhart’s counsel. Although the Rule 11 Motion purported to be



                                                  45
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 47 of 69




aimed at Ms. Areu and Wigdor LLP, Fox News took the opportunity to retaliate against Ms.

Eckhart by: (i) asserting that Ms. Areu was used as part of a conspiracy to extort Fox News and

obtain a settlement for the benefit of Ms. Eckhart, thereby implying, if not outright stating, that

Ms. Eckhart attempted to extort Fox News; and (ii) including within the motion a completely

misleading reference to settlement communications between Fox News and Wigdor LLP in order

to paint Ms. Eckhart out to be a greedy extortionist rather than a victim of sexual harassment,

assault and rape.

       195.    Fox News knew that the Rule 11 Motion was frivolous and legally untenable, but

nonetheless served it upon counsel to intimidate, harass and retaliate against Ms. Eckhart and

Ms. Areu, as well as their counsel.

       196.    Then, on September 29, 2020, Fox News filed the Rule 11 Motion, again, to

further harass and retaliate against Ms. Eckhart and Ms. Areu, as well as their counsel.

       197.    As if these actions by Fox News did not cause enough emotional distress, harm

and public humiliation, on October 19, 2020, Mr.Defendant Henry filed a motion to dismiss Ms.

Eckhart’s claims to which he annexed various photographs allegedly depicting Ms. Eckhart in a

nude or partially nude state.

       198.    In short, Mr.Defendant Henry often forcefully demanded that Ms. Eckhart send

him photographs of herself for his own sexual gratification. Ms. Eckhart sometimes obliged,

both to avoid retaliation and in the hopes that he would leave her alone if she sent a photograph.

Due to Mr.Defendant Henry’s incessant demands of Ms. Eckhart, she sometimes sent

Mr.Defendant Henry photographs of other women that she found on the Internet because she was

extremely uncomfortable sending such intimate photographs of herself. Thus, five of the

photographs attached to Mr.Defendant Henry’s widely inappropriate motion are not even of Ms.



                                                 46
            Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 48 of 69




Eckhart, a fact that Mr.Defendant Henry likely knew when he submitted them to intentionally

mislead the Court. It was therefore clear that Mr.Defendant Henry was motivated by the desire

to publicly harm and humiliate Ms. Eckhart by falsely claiming that she sent him certain graphic

pictures.

       199.     However, the remaining images were highly sensitive photographs that Ms.

Eckhart had an understandable interest in keeping private. Moreover, the Court determined that

they “should not have been filed” in connection with Mr.Defendant Henry’s motion to dismiss.

       200.    Mr.Defendant Henry and his legal team also included Ms. Eckhart’s personal cell

phone number in two other exhibits that were filed publicly with the Court, thereby “doxing”

her, a common tactic employed by sexual harassers online.

       201.    Mr.Defendant Henry’s conduct in this regard was vile and simply abhorrent, as       Formatted: Font color: Auto

rape can never be “justified” or “excused.”

       202.    Clinical psychologist Chloe Carmichael provided a quote to The Daily Beast

about Mr.Defendant Henry’s tactic to release such explicit photos of Ms. Eckhart stating, “It

could feel like a re-enactment of the original trauma for an alleged victim to have compromising

photographs wallpapered on the Internet by the accused rapist. It could make the alleged victim

feel like the alleged attacker has the power to humiliate her over and over again in a public

format. Having those images plastered all over the Internet by her attacker or agents of the

attacker could trigger a re-living of the experience of losing control over her own body.” See

https://www.thedailybeast.com/ex-fox-news-anchor-ed-henry-accused-of-pushing-revenge-porn-

in-retaliation-for-sexual-assault-claim.

       203.    As “revenge porn” expert Carrie Goldberg, Esq. explained: “The decision to

consensually share an image does not impeach a person’s credibility about nonconsensual sex.



                                                47
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 49 of 69




Being a recipient of a sexy image is not an invitation nor does it entitle a person to commit an

assault. This type of attempted slut-shaming and weaponization of lawsuits makes rape victims

think that they – and their allegations – will be seen as less credible because at some point there

existed photos of them wearing underwear. The legal strategy here is baffling.” See

https://www.thedailybeast.com/ex-fox-news-anchor-ed-henry-accused-of-pushing-revenge-porn-

in-retaliation-for-sexual-assault-claim.

       204.    TIME’S UP Foundation official Latifa Lyles told The Daily Beast: “Degrading

tactics have been used to intimidate or coerce victims into silence for generations, and we are not

going to just let that happen anymore… I imagine Ed Henry’s team is aware of one of the most

toxic myths about rape: that a victim would never send friendly or flirtatious messages or photos

to a perpetrator. This is a line of defense that perpetrators have used for generations – that

survivors somehow ‘asked for it.’ Well that just couldn’t be further from the real-world

experiences of survivors. Because most perpetrators of sexual violence are known to their

victims, ongoing contact is not uncommon, especially when the abuser or harasser has power

over their victim’s career.” See https://www.thedailybeast.com/ex-fox-news-anchor-ed-henry-

accused-of-pushing-revenge-porn-in-retaliation-for-sexual-assault-claim.

       205.    Indeed, many women never face or speak out against their abusers for fear of

retaliation and being “victim shamed” as Ms. Eckhart was.

       206.    Moreover, upon information and belief, Fox News was aware of and ratified the

retaliatory decision to file these highly sensitive photographs. Indeed, it has now become a

common practice for Fox News employees purportedly terminated for wrongdoing, like

Mr.Defendant Henry, to retain Catherine Foti, Esq. and engage in retaliatory litigation in cases in

which Fox News is a co-defendant.



                                                 48
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 50 of 69




        207.   Specifically, as alleged in the matter of Brown, et al. v. Fox News Network, LLC,

et al., Index No: 22446/2017E:

               As described herein, [p]laintiffs and other dark-skinned employees
               suffered years-long relentless racial animus at the hands of their
               white supervisor, Slater, an eighteen-year employee and former
               Senior Vice President (“SVP”) of Accounting and Controller of Fox
               [News]. Despite being well aware of Slater’s racist conduct,
               executives at Fox [News] did nothing to put an end to it and
               intentionally turned a blind eye. For years, Fox [News] permitted
               Slater to subject [p]laintiffs and other dark-skinned employees to a
               racially hostile work environment without fear of punishment or
               reprisal, and refused to terminate Slater for her conduct or, upon
               information and belief, even reprimand her in anyway.

               That all changed last week, when [p]laintiffs’ attorneys, Wigdor
               LLP, put [Fox News] on notice that [p]laintiffs would not capitulate
               to Fox [News’] demands and would be filing this lawsuit. Fox
               [News’] public relations machine went into full gear. In an effort to
               get out ahead of this lawsuit and pretend to care about the
               discriminatory conduct committed against [p]laintiffs, upon
               information and belief, Fox [News] leaked some of the allegations
               contained herein to the press. The leak was on a Friday, a day
               notoriously used to bury stories. Fox [News] terminated Slater as
               well.

               To be clear, Ms. Slater was not terminated because she engaged in
               discriminatory conduct – Fox [News] was willing to let her get away
               with that for years. Rather, Slater was terminated because Fox
               [News] knew this would become a public matter and wanted to
               salvage its reputation.

Id., Dkt. No. 1 at ¶¶ 1-3.

        208.   Ms. Slater ultimately retained Ms. Foti to represent her. When Ms. Foti filed Ms.

Slater’s answer, rather than simply admitting or denying the allegations in the complaint in that

action, Ms. Foti included a 19-page preliminary statement in which she: (i) accused the plaintiffs

and Wigdor LLP of extortion; and (ii) presented allegations concerning cherry-picked purported

“evidence” to make the plaintiffs look like liars because they were at times friendly with their

harasser. Id., Dkt. No. 152 at pp. 1-19.

                                                49
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 51 of 69




        209.    Upon information and belief, Fox News steered both Ms. Slater and

Mr.Defendant Henry to Ms. Foti and, in both cases, worked with Ms. Foti to prepare harassing

and retaliatory litigation to paint the plaintiffs (in this case, Ms. Eckhart) out to be liars and

extortionists by exposing them to victim blaming and, in Ms. Eckhart’s case, “victim shaming.”

        210.    The claim that Fox News intended to subject Ms. Eckhart to retaliation is further

supported by their choice of counsel in this action. Proskauer Rose LLP (“Proskauer”) generally,

and its partners Ms. McKenna and Mr. Chinn (both of whom have appeared in this action),

specifically, have a history of filing retaliatory litigation, including preemptive retaliatory

actions, retaliatory counterclaims and retaliatory Rule 11 motions.4 Several of these retaliatory



4
        See, e.g., Bertram v. Proskauer Rose LLP, No. 17 Civ. 00901 (ABJ) (D.D.C., 2017)             Formatted: Font: 12 pt
(Partner Connie Bertram alleged that she was subjected to gender discrimination and that she         Formatted: Font: 12 pt
was retaliated against by Proskauer after making complaints and retaining counsel, whose
defense team was led by Ms. McKenna. The retaliation included threats of termination.);
Campbell v. Chadbourne & Parke LLP, No. 16 Civ. 6832 (JPO), 2017 WL 2589389, at *1                   Formatted: Font: 12 pt
(S.D.N.Y. June 14, 2017) (Proskauer client represented by Ms. McKenna asserted a counterclaim        Formatted: Font: 12 pt
for a purported breach of fiduciary duty against a gender discrimination claimant); Baskett v.
                                                                                                     Formatted: Font: 12 pt
Autonomous Research LLP, et al., No. 17 Civ. 9237 (VSB) (S.D.N.Y.) (Proskauer client
represented by Mr. Chinn filed motion for sanctions against a gender discrimination and              Formatted: Font: 12 pt
Sarbanes-Oxley Act whistleblower employee plaintiff for utilizing company documents in
opposition to a pre-discovery motion for summary judgment (the documents demonstrated that
the motion and some of the representations underlying it were meritless). Both motions by the
defendant employer were denied.); Keller v. Loews Corp., 69 A.D.3d 451, 451 (1st Dep’t 2010)
(Proskauer client asserted a counterclaim for a purported breach of fiduciary duty against a
religious disability discrimination Claimant); Tapestry, Inc. v. Gibb, Index No. 653042/2018
(N.Y. Sup. Ct.) (Within three weeks after a multi-year employee of Stuart Weitzman filed a
sexual harassment lawsuit, the company, represented by Proskauer, responded by firing him
without notice and filing suit against him – for a purported breach of contract – through which it   Formatted: Font: 12 pt
sought to claw back all of the compensation it had paid to him as an employee.); McLaughlin v.
                                                                                                     Formatted: Font: 12 pt
Macquarie Capital (USA) Inc., No. 17 Civ. 9023 (RA) (S.D.N.Y.) (Proskauer client responded to
a discrimination lawsuit by filing a declaratory judgment action against the claimant in AAA         Formatted: Font: 12 pt
(seeking a determination that it had not discriminated against the claimant)); Brown Jordan Int’l,   Formatted: Font: 12 pt
Inc. v. Carmicle, No. 14 Civ. 60629, 2015 WL 11660246, at *4 (S.D. Fla. June 3, 2015)                Formatted: Font: 12 pt
(Proskauer client commenced litigation against a former employee for purportedly making
                                                                                                     Formatted: Font: 12 pt
unauthorized disclosures of confidential information); U.S. ex rel. Cieszynsky v. Lifewatch
Servs., Inc., No. 13 Civ. 4052 (SIS), 2016 WL 2771798, at *1 (N.D. Ill. May 13, 2016)                Formatted: Font: 12 pt
                                                                                                     Formatted: Font: 12 pt

                                                   50
         Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 52 of 69




actions have been taken against Wigdor LLP and its clients. It is inconceivable that Fox News

did not know this when it retained Proskauer.




                                  FIRST CAUSE OF ACTION
                         (Sex Trafficking under 18 U.S.C. § 1591, et seq.)
                           Against Defendants Fox News and Ed Henry

       211.      Ms. Eckhart repeats and realleges by reference each and every allegation

contained herein above and incorporates the same herein as though fully set forth herein.

       212.      Defendant Henry enticed women, including Ms. Eckhart, to attend meetings and

social gatherings with him based on the fraudulent promise that he would aid their career

development.

       213.      The opportunity to have a private meeting with Mr.Defendant Henry to discuss

career development carries value because such opportunities can be career-altering and therefore

life-changing.




(Proskauer client filed a counterclaim against a whistleblower claimant for purportedly
misappropriating its confidential information by disclosing it to the government in connection
with his whistleblowing activities.); Miller v. Blattner, 676 F. Supp. 2d 485, 489 (E.D. La. 2009)   Formatted: Font: 12 pt
(“Proskauer client asserted counterclaims against a claimant who alleged he was not paid a           Formatted: Font: 12 pt
portion of his bonus.”); Robert Reiser & Co. v. Scriven, 130 F. Supp. 3d 488, 491 (D. Mass.
                                                                                                     Formatted: Font: 12 pt
2015) (Proskauer client filed a preemptive action against an employee who asserted claims for
retaliation and violations of wage and hour laws.); National Academy of Recording Arts &             Formatted: Font: 12 pt
Sciences, Inc. v. Deborah Dugan; AAA No. 01-20-0000-3932 (Proskauer client filed a statement         Formatted: Font: 12 pt
of claim with the American Arbitration Association against its former president and CEO less         Formatted: Font: 12 pt
than two weeks after she filed her Charge of Discrimination with the EEOC regarding, inter alia,
                                                                                                     Formatted: Font: 12 pt
sexual harassment, her complaints of the Recording Academy’s lack of diversity and her efforts
to promote and advance diversity initiatives, unequal and discriminatory pay that was                Formatted: Font: 12 pt
substantially less than her male predecessors, corruption in the Recording Academy’s award
nomination process and retaliation to which she was subjected for engaging in protected
activity.)..)                                                                                        Formatted: Font: 12 pt, Font color: Text 1

                                                 51
           Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 53 of 69




        214.    Mr.Defendant Henry enticed Plaintiff to his hotel room based on the false

pretense that he would discuss and aid her career progression at Fox News.

        215.    Mr.Defendant Henry enticed Plaintiff to his hotel room knowing that force or

threats of force would be used to cause Ms. Eckhart to engage in an unwilling sex act.

        216.    Mr.Defendant Henry engaged in sexual acts with Plaintiff in his hotel room

without her consent.

        217.    Mr.Defendant Henry and Fox News formed a venture as defined by 18 U.S.C. §

1591 given that they constituted a “group of two or more individuals associated in fact, whether

or not a legal entity.”

        218.    Fox News benefited from participation in the venture because Fox News received

value from Mr. Henry’s services and benefited financially from his continued employment.

        219.1. Fox News knew that Mr. Henry engaged in a pattern and practice of sexual

misconduct with women, including female employees, prior to the time that he raped Ms.

Eckhart.

        220.    Fox News participated in Mr. Henry’s sexual misconduct by knowingly assisting

and facilitating Mr. Henry with the resources and authority to engage in sexual misconduct and

by helping to “clean up after” and “cover up” the sexual misconduct, including by failing to

investigate legitimate claims of sexual misconduct and refusing to remediate or take action

against Mr. Henry upon learning of Mr. Henry’s sexual misconduct.

        221.    Fox News also paid for Mr. Henry’s interstate travel and the premises where the

sexual assault was committed.

        222.    Had Fox News terminated Mr. Henry upon learning of his sexual misconduct, it

would have suffered significant financial harm, and Ms. Eckhart would not have been raped.



                                                52
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 54 of 69




       223.    Fox News benefited from its involvement in the venture because it allowed Mr.

Henry to continue to appear on Fox News and anchor some of its most highly-rated programs,

which monetarily benefited Fox News as the network continued to make money.

       224.218.        As a direct and proximate result of Fox News’ and EdDefendant Henry’s

unlawful conduct as alleged hereinabove, Plaintiff has suffered physical injury, severe emotional

distress and anxiety, humiliation, embarrassment, post-traumatic stress disorder, economic harm

and other consequential damages.

       225.219.        Plaintiff also seeks reasonable attorneys’ fees as provided under 18

U.S.C. § 1595(a).




                              SECOND CAUSE OF ACTION
                (Hostile Work Environment, Sexual Harassment and Gender
                Discrimination under Title VII of the Civil Rights Act of 1964)                      Formatted: Kern at 12 pt
                                Against Defendant Fox News                                           Formatted: Add space between paragraphs of the
                                                                                                     same style
       226.    Plaintiff hereby repeats and realleges each and every allegation in the preceding

paragraphs as if set forth fully within.

       227.    Defendant Fox News has discriminated against Plaintiff on the basis of her gender

in violation to Title VII by subjecting her to disparate treatment based upon her gender,

including, but not limited to, subjecting her to sexual harassment and assault, rape and a hostile

work environment. As a result, Plaintiff was denied the opportunity to work in an employment

environment free of unlawful discrimination.

       228.    These actions are in direct violation of Title VII of the Civil Rights Act of 1964,

as amended.




                                                53
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 55 of 69




        229.    As a direct and proximate result of Defendant Fox News’ unlawful discriminatory

conduct in violation of Title VII, Plaintiff has suffered, and continues to suffer, monetary and/or

economic harm for which she is entitled to an award of monetary damages and other relief.

        230.    As a direct and proximate result of Defendant Fox News’ unlawful discriminatory

conduct in violation of Title VII, Plaintiff has suffered, and continues to suffer, severe mental

anguish and emotional distress for which she is entitled to an award of monetary damages and

other relief.

        231.    Defendant Fox News’ unlawful discriminatory and wrongful conduct constitutes a

willful and wanton violation of Title VII, was outrageous and malicious, and was intended to

injure Plaintiff and was committed with conscious disregard of Plaintiff’s civil rights, entitling

Plaintiff to an award of punitive damages.



                                  THIRD CAUSE OF ACTION
                   (Retaliation under Title VII of the Civil Rights Act of 1964)
                                   Against Defendant Fox News

        232.220.        Plaintiff hereby repeats and realleges each and every allegation in the

preceding paragraphs as if set forth fully herein.

        233.221.        Defendant Fox News has retaliated against Plaintiff because she engaged

in protected activity as defined by Title VII of the Civil Rights Act by, inter alia, terminating her

employment and subjecting her to post-termination harassment and trauma.

        234.222.        As a direct and proximate result of Defendant Fox News’ unlawful

retaliatory conduct in violation of Title VII, Plaintiff has suffered, and continues to suffer,

monetary and/or economic harm for which she is entitled to an award of monetary damages and

other relief.



                                                  54
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 56 of 69




       235.223.        As a direct and proximate result of Defendant Fox News’ unlawful

retaliatory conduct in violation of Title VII, Plaintiff has suffered, and continues to suffer, severe

mental anguish and post-traumatic stress for which she is entitled to an award of monetary

damages and other relief.

       236.224.        Defendant Fox News’ unlawful discriminatory and wrongful conduct

constitutes a willful and wanton violation of Title VII, was outrageous, malicious and cruel, was

intended to injure Plaintiff and was committed with conscious disregard of Plaintiff’s civil rights,

entitling Plaintiff to an award of punitive damages.

                               THIRD CAUSE OF ACTION
                              FOURTH CAUSE OF ACTION                                                     Formatted: Font: Bold
                 (Hostile Work Environment, Sexual Harassment and Gender
                            Discrimination under the NYSHRL)
                    Against DefendantsDefendant Fox News and Ed Henry

       237.225.        Plaintiff hereby repeats and realleges each and every allegation in the

preceding paragraphs as if set forth fully herein.

       238.226.        Defendants haveDefendant Fox News has discriminated against Plaintiff

on the basis of her gender in violation of the NYSHRL by subjecting Plaintiff to disparate

treatment based upon her gender, including, but not limited to, subjecting her to sexual assault

and/or harassment, rape and a hostile work environment.

       239.227.        As a direct and proximate result of Defendants’Defendant Fox News’

unlawful discriminatory conduct in violation of the NYSHRL, Plaintiff has suffered, and

continues to suffer, monetary and/or economic harm for which she is entitled to an award of

monetary damages and other relief.

       240.228.        As a direct and proximate result of Defendants’Defendant Fox News’

unlawful discriminatory conduct in violation of the NYSHRL, Plaintiff has suffered, and



                                                  55
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 57 of 69




continues to suffer, severe mental anguish and emotional distress for which she is entitled to an

award of monetary damages and other relief.

       241.229.        Defendants’Defendant Fox News’ unlawful and discriminatory actions

were intentional, done with malice and/or showed a deliberate, willful, wanton and reckless

indifference to Plaintiff’s rights under the NYSHRL for which Plaintiff is entitled to an award of

punitive damages.

                                FIFTH CAUSE OF ACTION
                               FOURTH CAUSE OF ACTION                                                Formatted: Font: Bold
                              (Retaliation under the NYSHRL)
                    Against DefendantsDefendant Fox News and Ed Henry

       242.230.        Plaintiff hereby repeats and realleges each and every allegation in the

preceding paragraphs as if set forth fully herein.

       243.231.        Defendants haveDefendant Fox News has retaliated against Plaintiff

because she engaged in protected activity as defined by the NYSHRL by, inter alia, terminating

her employment and subjecting her to post-termination harassment and trauma.

       244.232.        As a direct and proximate result of Defendants’Defendant Fox News’

unlawful retaliatory conduct in violation of the NYSHRL, Plaintiff has suffered, and continues to

suffer, monetary and/or economic harm for which she is entitled to an award of monetary

damages and other relief.

       245.233.        As a direct and proximate result of Defendants’Defendant Fox News’

unlawful retaliatory conduct in violation of the NYSHRL, Plaintiff has suffered, and continues to

suffer, severe mental anguish and emotional distress for which she is entitled to an award of

monetary damages and other relief.

       246.234.        Defendants’Defendant’s unlawful and retaliatory actions were intentional,     Formatted: List Paragraph, Indent: Left: 0"

done with malice and/or showed a deliberate, willful, wanton and reckless indifference to

                                                 56
           Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 58 of 69




Plaintiff’s rights under the NYSHRL for which Plaintiff is entitled to an award of punitive

damages.                                                                                             Formatted

                             FIFTHSIXTH CAUSE OF ACTION                                              Formatted: No underline
                      (Aiding and Abetting in Violation of the NYSHRL)                               Formatted: Tab stops: Not at 0.94"
                                 Against Defendant Ed Henry
                                                                                                     Formatted: Kern at 12 pt

        247.1. Plaintiff hereby repeats and realleges each and every allegation in the preceding     Formatted: Tab stops: Not at 0.94"
                                                                                                     Formatted: Font: Not Italic, Kern at 12 pt
paragraphs as if set forth fully herein.                                                             Formatted
                                                                                                     Formatted
        248.    Defendant Henry knowingly and maliciously aided and abetted the employment
                                                                                                     Formatted: Kern at 12 pt
practices, discrimination and retaliation, as described herein, committed against Plaintiff in

violation of the NYSHRL.

        249.    As a direct and proximate result, Plaintiff has suffered, and continues to suffer,

monetary and/or economic harm for which she is entitled to an award of monetary damages and

other relief.

        250.    As a direct and proximate result, Plaintiff has suffered, and continues to suffer,

severe mental anguish and post-traumatic stress for which she is entitled to an award of monetary

damages and other relief.

        251.    Defendant Henry’s unlawful and retaliatory actions were intentional, done with

malice and/or showed a deliberate, willful, wanton and reckless indifference to Plaintiff’s rights

under the NYSHRL for which Plaintiff is entitled to an award of punitive damages.

                              SEVENTH CAUSE OF ACTION
                 (Hostile Work Environment, Sexual Harassment and Gender
                             Discrimination under the NYCHRL)
                          Against Defendants Fox News and Ed Henry

        252.235.        Plaintiff hereby repeats and realleges each and every allegation in the

preceding paragraphs as if set forth fully herein.




                                                 57
            Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 59 of 69




          253.236.      Defendants have discriminated against Plaintiff on the basis of her gender

in violation of the NYCHRL by subjecting Plaintiff to disparate treatment based upon her

gender, including, but not limited to, subjecting her to sexual assault and/or harassment, rape and

a hostile work environment.

          254.237.      As a direct and proximate result of Defendants’ unlawful discriminatory

conduct in violation of the NYCHRL, Plaintiff has suffered, and continues to suffer, monetary

and/or economic harm for which she is entitled to an award of monetary damages and other

relief.

          255.238.      As a direct and proximate result of Defendants’ unlawful discriminatory

conduct in violation of the NYCHRL, Plaintiff has suffered, and continues to suffer, severe

mental anguish and emotional distress for which she is entitled to an award of monetary damages

and other relief.

          256.239.      Defendants’ unlawful and discriminatory actions were intentional, done

with malice and/or showed a deliberate, willful, wanton and reckless indifference to Plaintiff’s

rights under the NYCHRL for which Plaintiff is entitled to an award of punitive damages.




                                                                                                      Formatted: No underline
                                 SIXTH CAUSE OF ACTION                                                Formatted: Tab stops: Not at 0.94"
                                EIGHTH CAUSE OF ACTION                                                Formatted: Underline
                               (Retaliation under the NYCHRL)
                                                                                                      Formatted: Don't add space between paragraphs of
                             Against DefendantsDefendant Fox News
                                                                                                      the same style, Tab stops: 0.94", Left

          240.   Plaintiff hereby repeats and Ed Henryrealleges each and every allegation in the      Formatted: Font: Not Bold, Not Italic, Kern at 12 pt
                                                                                                      Formatted: Left, Indent: Left: 0", First line: 0.5", Add
preceding paragraphs as if set forth fully herein.                                                    space between paragraphs of the same style, Line
                                                                                                      spacing: Double, Numbered + Level: 1 + Numbering
                                                                                                      Style: 1, 2, 3, … + Start at: 1 + Alignment: Left + Aligned
                                                                                                      at: 0.5" + Indent at: 0.75"
                                                                                                      Formatted: Font: Not Bold, Not Italic
                                                                                                      Formatted: Left, Tab stops: 0.94", Left

                                                 58
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 60 of 69




        257.1. Plaintiff hereby repeats and realleges each and every allegation in the preceding     Formatted

paragraphs as if set forth fully herein.                                                             Formatted
                                                                                                     Formatted: Kern at 12 pt
        258.241.        Defendants haveDefendant Fox News has retaliated against Plaintiff

because she engaged in protected activity as defined by the NYCHRL by, inter alia, terminating

her employment and subjecting her to post-termination harassment and trauma.

        259.242.        As a direct and proximate result of Defendants’Defendant Fox News’

unlawful retaliatory conduct in violation of the NYCHRL, Plaintiff has suffered, and continues

to suffer, monetary and/or economic harm for which she is entitled to an award of monetary

damages and other relief.

        260.243.        As a direct and proximate result of Defendants’Defendant Fox News’

unlawful retaliatory conduct in violation of the NYCHRL, Plaintiff has suffered, and continues to

suffer, severe mental anguish and emotional distress for which she is entitled to an award of

monetary damages and other relief.

        261.244.        Defendants’Defendant Fox News’ unlawful and retaliatory actions were

intentional, done with malice and/or showed a deliberate, willful, wanton and reckless

indifference to Plaintiff’s rights under the NYCHRL for which Plaintiff is entitled to an award of

punitive damages.

                               SEVENTH CAUSE OF ACTION
                                NINTH CAUSE OF ACTION                                                Formatted: Kern at 12 pt
                      (Aiding and Abetting in Violation of the NYCHRL)                               Formatted: Add space between paragraphs of the
                                 Against Defendant Ed Henry                                          same style
                                                                                                     Formatted: Font color: Black
        262.   Plaintiff hereby repeats and realleges each and every allegation in the preceding
                                                                                                     Formatted: Kern at 12 pt

paragraphs as if set forth fully herein.                                                             Formatted: Add space between paragraphs of the
                                                                                                     same style, Tab stops: Not at 0.94"




                                                59
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 61 of 69




        263.    Defendant Henry knowingly and maliciously aided and abetted the employment

practices, discrimination and retaliation, as described herein, committed against Plaintiff in

violation of the NYSHRL.

        264.    As a direct and proximate result, Plaintiff has suffered, and continues to suffer,

monetary and/or economic harm for which she is entitled to an award of monetary damages and

other relief.

        265.    As a direct and proximate result, Plaintiff has suffered, and continues to suffer,

severe mental anguish and emotional distress for which she is entitled to an award of monetary

damages and other relief.

        266.    Defendant Henry’s unlawful and retaliatory actions were intentional, done with

malice and/or showed a deliberate, willful, wanton and reckless indifference to Plaintiff’s rights

under the NYSHRL for which Plaintiff is entitled to an award of punitive damages.

                               TENTH CAUSE OF ACTION                                                 Formatted: Font color: Black
                       (Gender-Motivated Violence Pursuant to GMVA)                                  Formatted: Add space between paragraphs of the
                                Against Defendant Ed Henry                                           same style, Tab stops: Not at 0.94"

        267.245.       Plaintiff hereby repeats and realleges each and every allegation in the

preceding paragraphs as if set forth fully herein.

        268.246.       The above-described conduct of Mr.Defendant Henry, including, but not

limited to, Mr.Defendant Henry’s sexual assaults and rape of Plaintiff Eckhart, constitutes a

“crime of violence” and a “crime of violence motivated by gender” against Plaintiff as defined

by the New York City Gender Motivated Violence Act, N.Y.C. Admin. Code § 8-903 (2017).

        269.247.       The above-described conduct of Mr.Defendant Henry, including, but not

limited to, Mr.Defendant Henry’s sexual assaults and rape of Plaintiff, constitutes a “crime of




                                                 60
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 62 of 69




violence” against Plaintiff motivated: (i) by her gender; (ii) on the basis of her gender; and/or

(iii) due, at least in part, to an animus based on her gender.

        270.248.        Mr.Defendant Henry committed a “crime of violence” against Plaintiff

because she is a woman and, at least in part, because he has an unlawful animus towards women.

Mr.Defendant Henry’s gender-motivated animus towards women is demonstrated by, among

other things, his sexually violent and abusive treatment of women.

        271.249.        As a direct and proximate result of the aforementioned gender-motivated

violence, Plaintiff has sustained in the past and will continue to sustain, monetary damages,

physical injury, pain and suffering, and serious psychological and emotional distress, entitling

her to an award of compensatory damages.

        272.250.        Mr.Defendant Henry’s gender-motivated violence against Plaintiff entitles

her to punitive damages and an award of attorneys’ fees and costs.

                               EIGHTH CAUSE OF ACTION                                               Formatted: Underline
                              ELEVENTH CAUSE OF ACTION                                              Formatted: Don't add space between paragraphs of
                                  (Violations of CRL § 52-b)                                        the same style, Tab stops: 0.94", Left
                     Against Defendants Fox News andDefendant Ed Henry                              Formatted: Kern at 12 pt

        251.   Plaintiff hereby repeats and realleges each and every allegation in the preceding    Formatted: Add space between paragraphs of the
                                                                                                    same style, Tab stops: Not at 0.94"

paragraphs as if set forth fully herein.                                                            Formatted: Font: Not Bold, Not Italic
                                                                                                    Formatted: Left, Tab stops: 0.94", Left
                                                                                                    Formatted
        273.   Plaintiff hereby repeats and realleges each and every allegation in the preceding
                                                                                                    Formatted

paragraphs as if set forth fully herein.                                                            Formatted: Kern at 12 pt


        274.252.        Defendants, acting together,Defendant Henry caused and allowed such

compromising and violating photographs at Dkt. No. 85, Exhibits G, H, J, K, L, N, O, P, R and S

to be published without Ms. Eckhart’s consent. These photographs, which were taken when Ms.




                                                  61
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 63 of 69




Eckhart had a reasonable expectation that the images would remain private, depict Ms. Eckhart’s

unclothed or exposed intimate body parts.

        275.253.        As a direct and proximate result, Plaintiff has suffered, and continues to

suffer, severe mental anguish, post-traumatic stress and other emotional distress for which she is

entitled to an award of monetary damages and other relief.

        276.254.        Defendants’ Defendant Henry’s violations of CRL § 52-b were

intentional, done with malice and/or showed a deliberate, willful, wanton and reckless

indifference to Plaintiff’s rights under the CRL § 52-b, for which Plaintiff is entitled to an award

of punitive damages.

                                   NINTH CAUSE OF ACTION                                               Formatted: Kern at 12 pt
                                     (Assault/Sexual Assault)                                          Formatted: Add space between paragraphs of the
                                   Against Defendant Ed Henry                                          same style
                                                                                                       Formatted: Kern at 12 pt
        255.    Plaintiff hereby repeats and realleges each and every allegation in the preceding
                                                                                                       Formatted: Tab stops: Not at 0.94"

paragraphs as if set forth fully herein.                                                               Formatted: Font: Not Italic, Kern at 12 pt
                                                                                                       Formatted
        256.    As described above, Defendant Henry violently, forcibly and against Ms.
                                                                                                       Formatted

Eckhart’s will and without her consent, frightened and placed her in apprehension of harm when         Formatted: Kern at 12 pt


he physically and violently sexually assaulted and raped her.

        257.    Defendant Henry used his body, fingers, penis and/or foreign objects to forcibly

touch and attempt and/or threaten to touch Plaintiff’s intimate areas and/or touch her with his own

intimate body parts, including, but not limited to, Plaintiff’s to invasively penetrating her vagina

and/or mouth.




                                                 62
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 64 of 69




        258.    As a direct and proximate result of Defendant Henry’s conduct, Plaintiff has

suffered, and continues to suffer, harm for which she is entitled to an award of monetary damages

and other relief.

        259.    The conduct of Defendant Henry described above was willful, wanton and

malicious. At all relevant times, Defendant Henry acted with conscious disregard for Plaintiff’s

rights and feelings, acted with the knowledge of or with reckless disregard for the fact that his

conduct was certain to cause injury and/or humiliation to Plaintiff, and intended to cause fear,

physical injury and/or pain and suffering to Plaintiff. By virtue of the forgoing, Plaintiff is entitled

to recover punitive damages.

        260.    This cause of action is timely under the Adult Survivors Act N.Y. C.P.L.R. § 214-

j (McKinney 2022), because it arises out of conduct perpetrated against Plaintiff who was

eighteen or older at the time of the conduct, that constitutes a sexual offense as defined in Article

One Hundred Thirty of the New York Penal Law (“Article 130”).

                                  TENTH CAUSE OF ACTION                                                    Formatted: Font color: Black
                                    (Battery/Sexual Battery)                                               Formatted: Add space between paragraphs of the
                                   Against Defendant Ed Henry                                              same style, Tab stops: Not at 0.94"
                                                                                                           Formatted: Font color: Black
        261.    Plaintiff hereby repeats, reiterates and re-alleges each and every allegation in all
                                                                                                           Formatted: Add space between paragraphs of the
                                                                                                           same style
of the preceding paragraphs as if fully set forth herein.
                                                                                                           Formatted: Kern at 12 pt

        262.    As described above, Defendant Henry violently, forcibly and against Ms.                    Formatted: Add space between paragraphs of the
                                                                                                           same style, Tab stops: Not at 0.94"
Eckhart’s will and without her consent, subjected her to bodily harm when he physically and

violently sexually assaulted and raped her.

        263.    Defendant Henry used his body, fingers, penis and/or foreign objects to forcibly

touch and attempt and/or threaten to touch Plaintiff’s intimate areas and/or touch her with his own

intimate body parts, including, but not limited to, Plaintiff’s to invasively penetrating her vagina


                                                   63
           Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 65 of 69




and/or mouth.

        264.    As a direct and proximate result of Defendant Henry’s conduct, Plaintiff has

suffered, and continues to suffer, harm for which she is entitled to an award of monetary damages

and other relief.

        265.    The conduct of Defendant Henry described above was willful, wanton and

malicious. At all relevant times, Defendant Henry acted with conscious disregard for Plaintiff’s

rights and feelings, acted with the knowledge of or with reckless disregard for the fact that his

conduct was certain to cause injury and/or humiliation to Plaintiff, and intended to cause fear,

physical injury and/or pain and suffering to Plaintiff. By virtue of the forgoing, Plaintiff is entitled

to recover punitive damages.

        266.    This cause of action is timely under the Adult Survivors Act N.Y. C.P.L.R. § 214-

j (McKinney 2022), because it arises out of conduct perpetrated against Plaintiff who was

eighteen or older at the time of the conduct, that constitutes a sexual offense as defined in Article

One Hundred Thirty of the New York Penal Law (“Article 130”).

                                ELEVENTH CAUSE OF ACTION                                                   Formatted: Kern at 12 pt
                                          (Negligence)                                                     Formatted: Add space between paragraphs of the
                                  Against Defendant Fox News                                               same style, Tab stops: Not at 0.94"
                                                                                                           Formatted: Kern at 12 pt
        267.    Plaintiff hereby repeats, recites and realleges each and every allegation in the
                                                                                                           Formatted: Add space between paragraphs of the
                                                                                                           same style
preceding paragraphs as if set forth fully herein.

        268.    As set forth above, Defendant Fox News knew of, or was negligent or recklessly

indifferent to, the fact that Defendant Henry engaged in a pattern and practice of sexual

misconduct with women, including female employees, prior to the time that he raped Ms.

Eckhart.




                                                   64
           Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 66 of 69




       269.    Defendant Fox News’ conduct described herein, including, but not limited to, the

negligent retention, training, discipline, and/or supervision of Defendant Henry, by knowingly

assisting and facilitating Defendant Henry with the resources and authority to engage in sexual

misconduct and by helping to “clean up after” and “cover up” the sexual misconduct, including

by failing to investigate legitimate claims of sexual misconduct and refusing to remediate or take

action against Defendant Henry upon learning of Defendant Henry’s sexual misconduct, resulted

in his commission of such assaults against Plaintiff.

       270.    Based on prior complaints against and incidents involving Defendant Henry and

other powerful men at the Company, among other reasons, Defendant Fox News knew or

reasonably should have known that Defendant Henry regularly engaged in sexual misconduct

and would use his position with Fox News to sexually pressure and commit sexual misconduct

and coercive sexual abuse against Plaintiff and other women.

       271.    Defendant Fox News had a duty of care to properly hire, train, retain/terminate,

supervise and/or discipline their employees and executives (including Defendant Henry himself)

to avoid unreasonable harm to others or to take steps to alleviate harm caused by his affirmative

conduct.

       272.    Defendant Fox News reasonably and foreseeably, did know or should have known,

that Defendant Henry would inflict such harm on Plaintiff.

       273.    Defendant Fox News’ negligent and/or affirmative conduct in relation to

Defendant Henry’s propensity to engage in sexual misconduct towards women and Ms. Eckhart

in particular was a substantial factor in causing Plaintiff’s harm.

       274.    As a direct and proximate result of Defendant Fox News’ negligent and/or

affirmative conduct, and as a direct and proximate result of Defendant Fox News turning a blind



                                                 65
          Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 67 of 69




eye to the outrageously abusive, predatory sexual culture that it allowed and enabled, as

described above, Plaintiff has suffered physical injury, severe emotional distress, humiliation,

embarrassment, mental and emotional distress and anxiety and economic harm.

       275.    The conduct described above by Defendant Fox News was willful, wanton,

malicious, knowingly reckless, and/or demonstrated complete disregard for its duty of care

towards Ms. Eckhart and other women. At all relevant times, Defendant Fox News acted with

conscious disregard of Plaintiff’s rights, welfare, and consent to acts by Defendant Henry and

also acted with the knowledge of or with reckless disregard for the fact that its conduct was

likely to cause injury and/or humiliation to Plaintiff. By virtue of the foregoing, Plaintiff is

entitled to recover punitive and exemplary damages from Defendant Fox News.

       276.    The above-described conduct of Defendant Henry, which Fox News knowingly

facilitated, constitutes a sexual offense as defined in Article One Hundred Thirty of the New York

Penal Law (“Article 130”), and this cause of action is timely under the Adult Survivors Act N.Y.

C.P.L.R. § 214-j (McKinney 2022).

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

Defendants, containing the following relief:

       A.      A declaratory judgment that the actions, conduct and practices of Defendants

complained of herein violate the laws of the United States, the State of New York and the City of

New York;

       B.      An injunction and order permanently restraining Defendants and their partners,

officers, owners, agents, successors, employees and/or representatives, and any and all persons




                                                 66
            Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 68 of 69




acting in concert with them, from engaging in any such further unlawful conduct, including the

policies and practices complained of herein;

       C.      An award of damages against Defendants, or any jointly or severally liable entity

or person, in an amount to be determined at trial, plus prejudgment interest, to compensate

Plaintiff for all monetary and/or economic damages, including, but not limited to, loss of past

and future income, wages, compensation, seniority and other benefits of employment;

       D.      An award of damages against Defendants, or any jointly or severally liable entity

or person, in an amount to be determined at trial, plus prejudgment interest, to compensate

Plaintiff for all non-monetary and/or compensatory damages, including, but not limited to,

compensation for her emotional distress;

       E.      An award of damages for any and all other monetary and/or non-monetary losses

suffered by Plaintiff, including, but not limited to, loss of income, earned bonus pay, reputational

harm and harm to professional reputation, in an amount to be determined at trial, plus

prejudgment interest;

       F.      An award of punitive damages, and any applicable penalties and/or liquidated

damages in an amount to be determined at trial;

       G.      Prejudgment interest on all amounts due;

       H.      An award of costs that Plaintiff has incurred in this action, including, but not

limited to, expert witness fees, as well as Plaintiff’s reasonable attorneys’ fees and costs to the

fullest extent permitted by law; and

       I.      Such other and further relief as the Court may deem just and proper.




                                                 67
        Case 1:20-cv-05593-RA-GWG Document 225-2 Filed 12/16/22 Page 69 of 69




                                      JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

Dated: December 16, 2022
       New York, New York                           Respectfully submitted,

                                                    WIGDOR LLP


                                                    By: ____________________________
                                                          Douglas H. Wigdor
                                                          Michael J. Willemin
                                                          Renan F. Varghese

                                                    85 Fifth Avenue
                                                    New York, NY 10003
                                                    Telephone: (212) 257-6800
                                                    Facsimile: (212) 257-6845
                                                    dwigdor@wigdorlaw.com
                                                    mwillemin@wigdorlaw.com
                                                    rvarghese@wigdorlaw.com

                                                    Attorneys for Plaintiff




                                               68
